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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                         )
MILLS LAW GROUP LLP                      )
800 Connecticut Avenue N.W., Suite 300 )
Washington, D.C. 20006,                  )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )
                                         )           Civil Action No. 22-3323
REPUBLIC OF IRAQ                         )
      and                                )
MINISTRY OF JUSTICE OF THE               )
REPUBLIC OF IRAQ                         )
                                         )
      Serve:                             )
      Ministry of Foreign Affairs of the )
      Republic of Iraq                   )
      Main Building                      )
      Al-Salhia, Baghdad                 )
      Republic of Iraq                   )
                                         )
      Defendants.                        )
                                         )

                                     COMPLAINT
      (On Account Stated; Breach of Contract or in the Alternative Quantum Meruit)

                                     Nature of the Action

       1.     This is an action for material breach of commercial legal payment obligations

owed by the Republic of Iraq (“Iraq”) to Plaintiff Mills Law Group LLP (“Plaintiff”, or “Mills

Law Group” or “MLG”) for legal services provided by Mills Law Group to Iraq:

              A.      Between 19 February 2018 and 5 October 2021 (the “Term of

Representation”) by Plaintiff Mills Law Group LLP, a Washington D.C. limited liability

partnership (“Plaintiff” or “Mills Law Group” or “MLG”) to the foreign sovereign State the

Republic or Iraq (“Iraq” or “Defendant”) in defense of claims made against Iraq and the Ministry

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of Defense of the Republic of Iraq (“MoD”) in the action Wye Oak Technologies, Inc. v.

Republic of Iraq and Ministry of Defense of the Republic of Iraq (Civil Action No. 10-cv-01182-

RCL, D.D.C.) and on appeal (the “Wye Oak Litigation”), pursuant to an engagement agreement

entered into between Plaintiff and Iraq (acting through the Ministry of Justice of Iraq (“MoJ”)

which provided that Defendant Iraq would pay each of Plaintiff’s invoices for incurred litigation

expenses and legal fees by not later than sixty (60) days after delivery of each invoice by email

to the Ministry of Justice (“Invoice Presentment”); and

               B.      On 2 February 2021, through the Embassy of Iraq in Washington, D.C.

(the “Embassy”), with respect to a follow-up requested by the Embassy relating to the prior

representation of Iraq by Attorney Mills in the 2006 litigation matter of Rice Corporation v.

Grain Board of Iraq et al. (Civil Action No. 06-1516, E.D. Cal.).

       2.      During the Term of Wye Oak Litigation Representation:

               A.      Plaintiff MLG provided representation to Defendant Iraq in the Wye Oak

Litigation pursuant to the Engagement Agreement;

               B.      Between 12 October 2019 and 9 December 2021, Plaintiff MLG presented

to Iraq nine (9) invoices for Wye Oak Litigation expenses in the total amount of $287,393.65

incurred by Plaintiff MLG on behalf of Iraq that by the terms of the Engagement Agreement,

Iraq is contractually obligated to pay to Plaintiff MLG by not later than sixty (60) days after

Invoice Presentment (the “Wye Oak Incurred Litigation Cost Invoices”), as further alleged infra;

               C.      Between 22 December 2019 and 9 December 2021, Plaintiff MLG

presented to Iraq fourteen (14) Wye Oak Litigation Fee Invoices in the total amount of

$3,738,102.00 for litigation legal services rendered in defense of Iraq in the Wye Oak litigation

that by the terms of the Engagement Agreement, Iraq is contractually obligated to pay to Plaintiff



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MLG by not later than sixty (60) days after Invoice Presentment (the “Wye Oak Legal Fees

Invoices”), as further alleged infra;

               D.        Between 7 March 2020 and 25 July 2022, on nineteen (19) occasions

Plaintiff MLG gave written notification and made demand to Iraq, respectively, as alleged in ¶

21, infra (inclusive of Annex B to this Complaint incorporated by reference into ¶ 21) that: (1)

Iraq is in material breach of its contractual obligations to pay each of the Wye Oak Litigation

Expense Invoices and Wye Oak Legal Fee Invoices in full; and (2) Iraq must cure its material

breach by paying Plaintiff MLG the amount of each such invoice in full, as further alleged infra.

               E.        At no time whatsoever did Iraq make any objection whatsoever, take any

exception whatsoever, or dispute whatsoever any Wye Oak Litigation Expense Invoice, as

further alleged infra;

               F.        At no time whatsoever did Iraq make any objection whatsoever, take any

exception whatsoever, or dispute whatsoever any of the Wye Oak Legal Fee Invoices, excepting

Iraq communicating the following to MLG unreasonably late, on 8 December 2021 – four (4)

months after Plaintiff MLG presented Wye Oak Litigation Fee Invoice No. 21-0807-001 (in the

amount of $120,001.00) to Iraq on 8 August 2021: Iraq “noted that the amount of the invoice is

very high and [inaccurately contended that] the only work on the case was to review the

summary of Wye Oak appeal, the draft response and correspondence regarding the revised

attorney time summaries. [¶] Accordingly, we suggest that you reduce the amount of the invoice

so that we can proceed with payment procedures.” As a matter of applicable “on account stated”

law, such communication did not constitute a legally-cognizable objection to Invoice No. 21-

0807-001. Nevertheless, Mills Law Group rebutted Iraq’s unreasonably late and erroneous




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contention on 14 December 2021. See allegations at Complaint ¶ 21, infra and Annex B to the

Complaint (incorporated by reference therein).

               G.      At all relevant times (commencing from the presentment date for each

invoice through the date of this Complaint, and continuing), Iraq materially breached the implied

covenant of good faith and fair dealing of the Engagement Agreement by failing to take all

actions necessary to review, approve and pay each of the Wye Oak Litigation Expense Invoices

and Wye Oak Legal Fee Invoices by not later than sixty (60) days after Invoice Presentment

pursuant to the Engagement Agreement payment term, as further alleged infra; and

               H.      Despite being gravely delinquent in paying each of the Wye Oak

Litigation Expense Invoices and Wye Oak Legal Fee Invoices, Iraq has not paid any of the Wye

Oak Litigation Expense Invoices and Wye Oak Legal Fee Invoices.

       3.      Accordingly, Iraq is legally liable and indebted to Plaintiff MLG in the amount of

$4,025,495.65 (the “Debt”), plus pre-judgment interest, and Plaintiff MLG’s attorneys fees,

expenses and costs incurred in connection with Plaintiff MLG’s efforts to collect the Debt

(including, but not limited to the attorneys fees, expenses and costs incurred in bringing and

maintaining this action), on claims of:

               A.      On account stated;

               B.      Material breach of the express terms of the Engagement Agreement; and

               C.      Material breach of the implied covenant of good faith and fair dealing.

       4.      Iraq has the means and capability to pay the Debt. In August, 2022, Central Bank

of Iraq (“CBI”) Deputy Governor stated that Iraq’s foreign currency reserves are above

$80,000,000,000 (eighty billion United States dollars) and are expected to reach

$90,000,000,000 (ninety billion United States dollars) by the end of 2022, and that Iraq also



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advanced 10 ranks in the list of countries with the most gold, becoming the 30th globally and 4th

in the Arab world, as Iraq’s total gold possessions have climbed 30 tons to stand at more than

131 as of 21 August 2022.1 Yet Iraq has refused, and continues to refuse, to: (a) communicate

concerning the Debt; and (b) pay any part of the Debt.

                                               Parties

       5.      Plaintiff Mills Law Group LLP (“Mills Law Group” or the “Law Firm”):

               A.      Is a limited liability partnership organized and existing under the laws of

the District of Columbia;

               B.      At all times relevant to this action, has its principal place of business in

Washington D.C.;

               C.      Provided commercial litigation legal services to Defendants in civil action

Wye Oak Technologies, Inc. v. Republic of Iraq and Ministry of Defense of the Republic of Iraq,

Civil Action No. 1:10-cv-01182-RCL (D.D.C.) (the “DDC”) and the related appeal and cross-

appeal before the U.S. Court of Appeals for the District of Columbia Circuit (“D.C. Circuit”),

Republic of Iraq et al. v. Wye Oak Technologies, Inc., Appeal No. 19-7162 (consolidated with

No. 19-7169) (the “Wye Oak Litigation”), pursuant to a written commercial legal services

Engagement Agreement between Mills Law Group and Iraq that Iraq, through Iraq’s authorized

entity the Ministry of Justice of the Republic of Iraq) entered into with Mills Law Group in the

United States by, inter alia, MoJ presenting MoJ’s execution of the Engagement Agreement to

Mills Law Group in the United States.




1Reuters, “Iraq's foreign currency reserves above $80bln, central bank official says", Aug. 21, 2022,
available at https://www.reuters.com/markets/rates-bonds/iraqs-foreign-currency-reserves-above-80-
bln-central-bank-official-2022-08-21/.


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       6.        Each of Defendants Republic of Iraq (“Iraq”) and the Ministry of Justice of the

Republic of Iraq (“MoJ”) is a foreign sovereign state defined in 28 U.S.C. § 1603(a) (herein,

“State”).

                                 Jurisdiction; Jurisdictional Facts

       7.        This Court has jurisdiction over the subject matter of this action by virtue of 28

U.S.C. §§ 1330(a) and 1605(a)(2), insofar as the contract whose breach is alleged herein

constitutes:

                 A.     A commercial activity of Iraq carried on in the United States; and

                 B.     Acts of Iraq outside the territory of the United States in connection with a

commercial activity of the State of Iraq elsewhere, and such acts caused a direct effect in the

United States.

                                                Venue

       8.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(f)(1) and (4).

                                                Facts

       9.        A. Iraq and Mills Law Group entered into the Engagement Agreement, dated 15

March 2018, effective as of 19 February 2018, for Mills Law Group (and attorneys associated by

Mills Law Group as counsel in the Wye Oak Litigation) to provide legal services in defense of

Defendants in the Wye Oak Litigation. The Engagement Agreement was executed on 26 March

2018 by Raad Khalil Ghajy, in his capacity as the Director General of the MoJ Legal

Department.

                 B.     A true and correct copy of the Engagement Agreement is set forth at

Exhibit 1.1, and is incorporated by reference as though fully set out herein.

                 C.     The Engagement Agreement provides, inter alia:



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               The Firm [Mills Law Group] and the Ministry [of Justice] agree that the Standard

               Terms of the prior engagement agreement between the Ministry and Maggs &

               McDermott LLC for this action shall also apply to this engagement agreement and

               are incorporated by reference. Engagement Agreement at 4.

               D.     On 25 February 2010, Iraq and Maggs & McDermott LLC (“Maggs &

McDermott”) entered into the engagement agreement, dated 20 February 2010, effective as of 18

February 2010, for Maggs & McDermott to provide legal service in defense of Defendants in the

Wye Oak Litigation (the “Maggs & McDermott-MoJ Engagement Agreement”). The Maggs &

McDermott-MoJ Engagement Agreement was executed on 25 February 2010 by Omar Ghassan

Jamil Al-Wiswasi in his capacity as Director General of the MoJ Legal Department (“DG Al-

Wiswasi”). As part of executing the Maggs & McDermott-MoJ Engagement Agreement, DG

Al-Wiswasi initialed the bottom of each page of the Maggs & McDermott-MoJ Engagement

Agreement.

               E.     A true and correct copy of the Maggs & McDermott-MoJ Engagement

Agreement is set forth as Exhibit 1.2, and is incorporated by reference as though fully set out

herein.

               F.     The Maggs & McDermott-MoJ Engagement Agreement provides, inter

alia:

               We will notify you promptly if your account becomes delinquent, and you agree

               to bring the account or the advance deposit current when so notified. If the

               delinquency continues and you do not arrange satisfactory payment terms, we

               reserve the right to postpone or defer providing additional services or to withdraw

               from the representation and pursue collection of your account. If collection



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               activities are necessary, you agree to pay us any costs we may incur in collecting

               the debt, including court costs, filing fees and a reasonable attorney’s fee.

               Maggs & McDermott-MoJ Engagement Letter at 8-9 (Revised Standard Terms of

               Engagement, Billing Arrangements and Terms of Payment).

       10.     Iraq entered into the Engagement Agreement with Mills Law Group in the United

States by, inter alia, taking those actions stated and alleged in Paragraph 3(C), supra

       11.     The Engagement Agreement:

               A.      Required Mills Law Group and the attorneys that Mills Law Group

engaged as counsel in the Wye Oak Litigation (the “Associated Counsel”) to provide the Legal

               B.      (1)    Required Iraq to make payment in the United States to Mills Law

Group of: (i) a retainer of $100,000, and to make additional payments to maintain the retainer in

the amount of $100,000 throughout the representation; (ii) advances of funds required for Mills

Law Group to pay Wye Oak Litigation expenses incurred on Iraq’s behalf out of Iraq-advanced

funds; and (iii) all invoiced fees for the Legal Services and for reimbursement of Expenses

related to the Wye Oak Litigation by Mills Law Group and Associated Co-Counsel.

                       (2)    Iraq paid the $100,00 retainer to Mills Law Group through a check

drawn on a United States bank in the District of Columbia that the authorized representative of

Iraq in the United States hand-delivered Ito Mills Law Group in Washington, D.C. for deposit by

Mills Law Group into the bank account of Mills Law Group in Washington, D.C. (the “Retainer

Payment Check”). Mills Law Group deposited the Retainer Payment Check into the Mills Law

Group bank account in Washington, D.C.

                       (3)    Iraq materially breached the Engagement Agreement by: (a) not

maintaining the retainer in the amount of $100,000; and (b) not advancing funds to Mills Law



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Group as required for Mills Law Group to pay Wye Oak Litigation expenses out of Iraq-

advanced funds; and (iii) not paying any of the Mills Law Group invoices for Legal Services fees

and reimbursement of incurred expenses that are the subject of this Complaint (alleged infra)

(the “Delinquent Invoices”).

        12.    Pursuant to the Engagement Agreement, Mills Law Group presented Mills Law

Group Invoices for the Wye Oak Litigation by email to the Legal Department of the Ministry of

Justice of the Republic of Iraq (“MoJ”) for approval and payment by MoJ within sixty (60) days

of the presentment date of each Invoice expressly specified in the Engagement Agreement (the

“Payment Date”).

        13.    The MoJ officials responsible for processing and approval of Mills Law Group

invoices include: (i) the Director General of the MoJ Legal Department (“DG”); and (ii) the

Minister of Justice of the Republic of Iraq (“Minister of Justice”). The DG and the Minister of

Justice each are located in the Ministry of Justice headquarters building in Baghdad, Iraq.

        14.    The actions and inactions of the DG and the Minister of Justice that have resulted

in Iraq breaching its commercial obligations to Mills Law Group to maintain the $100,000

retainer and pay the Delinquent Invoices took place at the Ministry of Justice HQ in Baghdad

Iraq.

        15.    Iraq’s breach of such commercial payment obligations caused direct effects in the

United States, including, but not limited to:

               A.      Mills Law Group consequently not having the funds to pay:

                       (i)     Translation fees billed to Mills Law Group by the professional

services translation firm Beyond Words LLC (located in Washington, D.C.) (“Beyond Words”)

that provided the English-Arabic and Arabic-English translation services on behalf of Iraq in the



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Wye Oak Litigation (including for the depositions of the Iraqi witnesses and translation of

Arabic-language documents produced by Iraq), which Mills Law Group invoiced to Iraq, and,

which, pursuant to the Engagement Agreement, Iraq is obligated to pay to Mills Law Group

within 60 days of the Invoice presentment date, and Mills Law Group then is legally obligated to

pay to the Translation Firm; and

                      (ii)    Legal fees and expenses of Associated Co-Counsel DiMuro

Ginsberg P.C. (“DiMuro Ginsberg”) which Mills Law Group invoiced to Iraq, and, which,

pursuant to the Engagement Agreement, Iraq is obligated to pay to Mills Law Group within 60

days of the Invoice presentment date, and Mills Law Group is legally obligated to pay DiMuro

Ginsberg.

               B.     Depriving Mills Law Group, DiMuro Ginsberg and Beyond Words of use

of money, and consequently causing Mills Law Group, DiMuro Ginsberg and Beyond Words to

suffer diminishment of the working capital of each of their businesses, in the total amount of the

payments due from Iraq for the invoiced Legal Services fees, translation fees, and Expenses that

Iraq failed to pay within sixty (60) days of Invoice presentment, pursuant to the Engagement

Agreement.

         16.   During the Term of Representation (between 19 February 2018 and 5 October

2021):

               A.     Mills Law Group provided Legal Services and incurred Expenses in the

Wye Oak litigation as counsel for Defendants Iraq and MoD, pursuant to the Engagement Letter;

               B.     Pursuant to the Engagement Letter, Mills Law Group was assisted in the

provision of the Legal Services by Associated Counsel; and




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               C.      Mills Law Group presented invoices to Iraq (through MoJ) for all fees for

the Legal Services provided by Mills Law Group and Associated Counsel and all Expenses

incurred by Mills Law Group and Associated Counsel (as further alleged in Paragraphs 14

through 17, infra); and

       17.     During the Term of the Wye Oak Representation:

               A.      On 15 April 2018, Mills Law Group appeared as lead counsel for

Defendants Iraq and MoD in the Wye Oak Litigation in the DDC.

               B.      Subsequently, Mills Law Group appeared as lead counsel for Defendants

in the D.C. Circuit;

               C.      On 2 September 2020, Defendants, acting through the Iraq Ministry of

Justice, appointed the law firm of Cleary Gottleib Steen & Hamilton (“Cleary Gottleib”) as

successor lead counsel to Mills Law Group.

               D.      Between 2 September 2020 and 5 October 2021, Mills Law Group and,

derivatively, Associated Counsel of the law firm DiMuro Ginsberg were co-counsel with Cleary

Gottlieb in the Wye Oak Litigation.

       18.     Plaintiff Mills Law Group incorporates by reference, as though fully set forth

herein, Annex A to this Complaint (entitled “History of Mills Law Group Presentment of Wye

Oak Litigation Invoices to Iraq and Iraq Non-Objection and Non-Payment of Presented

Invoices”), inclusive of all factual allegations set forth in Annex A.

               A.         By 28 December 2019, Mills Law Group had presented Invoices for

unpaid Legal Services and Expenses to Iraq (through MoJ) for the period from 5 March 2018

(the first date of Mills Law Group incurrence of Wye Oak Litigation fees and expenses under the

Engagement Agreement) through 25 November 2019, which total as follows:



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               (1)    Incurred Wye Oak Litigation Expenses:       $270,481.54; and

               (2)    Incurred Wye Oak Legal Fees:                $3,073,150.50

Annex A at ¶¶ 18.A through 18.H (MLG Invoice Groups E-1, E-2 (MLG Wye Oak Litigation

Incurred Expense Invoices); Annex A at ¶¶ 18.T through 18.AA MLG Invoice Group F-1 (MLG

Wye Oak Litigation Fee Invoices).

With respect to the invoiced Legal Services fees referenced in Paragraphs 18(A), supra such

Legal Services were provided pursuant to the Engagement Agreement, at the request of Iraq, by

Mills Law Group and Associated Counsel DiMuro Ginsberg at the request of and under the

supervision of lead counsel Cleary Gottlieb.

               B.     By 31 December 2020, Mills Law Group had presented Invoices for

unpaid Legal Services and Expenses for the period from 26 November 2019 through 30

December 2020 totaling as follows:

               (1)    Incurred Wye Oak Litigation Expenses:       $13,149.02; and

               (2)    Incurred Wye Oak Legal Fees:                $497,961.50

Annex A at ¶¶ 18.I through 18.K (MLG Invoice Group E-3 (MLG Wye Oak Litigation Incurred

Expense Invoices); Annex A at ¶¶ 18.AB through 18.AG MLG Invoice Group F-2 (MLG Wye

Oak Litigation Fee Invoices).

With respect to the invoiced Legal Services fees referenced in Paragraphs 18(B), supra such

Legal Services were provided pursuant to the Engagement Agreement by Mills Law Group and

Associated Counsel DiMuro Ginsberg at the request of and under the supervision of lead counsel

Cleary Gottlieb.




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                C.     By 9 December 2021, Mills Law Group had presented Invoices for Legal

Services and Expenses for the period from 1 January 2021 through 5 October 2021 totaling as

follows:

                (1)    Incurred Wye Oak Litigation Expenses:        $3,763.09; and

                (2)    Incurred Wye Oak Litigation Fees:            $166,990.00

Annex A at ¶¶ 18.L through 18.N (MLG Invoice Groups E-4 (MLG Wye Oak Litigation

Incurred Expense Invoices); Annex A at ¶¶ 18.AH through 18.AJ MLG Invoice Group F-3

(MLG Wye Oak Litigation Fee Invoices).

With respect to the invoiced Legal Services fees referenced in Paragraph 18(C), supra covering

the period 1 January 2021 through 5 October 2021 pertaining to DDC and D.C. Circuit

proceedings, such Legal Services were provided pursuant to the Engagement Agreement by

Mills Law Group and its associated counsel DiMuro Ginsberg at the request of and under the

supervision of lead counsel Cleary Gottlieb.

        19.     Pursuant to the Engagement Agreement, Iraq is contractually obligated to pay

each invoice referenced in Annex A and Paragraph 18, supra (the “Delinquent Invoices”) by not

later than sixty (60) days after the date Mills Law Group presented each invoice to Iraq (through

MoJ).

        20.     Iraq has materially breached the Engagement Agreement by not paying any of the

Delinquent Invoices.

        21.     Plaintiff Mills Law Group incorporates by reference, as though fully set forth

herein, Annex B to this Complaint (entitled “Chronological History of Mills Law Group-Iraq

Communications Relevant to Mills Law Group Demands for Iraq Payment of Each Wye Oak

Litigation Invoice Presented to Iraq and Iraq Communications with respect to: (1) All Presented



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Invoices and Payment Demands, and (2) Iraq Failure to Object to Presented Invoices”), inclusive

of all factual allegations set forth in Annex B.

               A.      Between 1 April 2020 and 25 July 2022, Mills Law Group made nineteen

(19) demands to Iraq for payment of each and every Delinquent Invoice, as alleged in Annex B,

paragraphs, consisting of each the following: (1) ¶ 21.F (demand dated 21 March 2020); (2) ¶

21.G (demand dated 1 May 2020); (3) ¶ 21.I (demand made 14 June 2020); (4) ¶ 21.J (demand

made 27 June 2020); (5) ¶ 21.K (demand made 9 July 2020); (6) ¶ 21.L (demand made 19 July

2020); (7) ¶ 21.M (demand made 27 July 2020); (8) ¶ 21.N (demand made 15 Aug 2020); (9) ¶

21.P (demand made 15 Oct 2020); (10) ¶ 21.Q (demand made 9 Dec 2020); (11) ¶ 21.Z (demand

made 29 May 2021); (12) ¶ 21.AB (demand made 29 June 2021); (13) ¶ 21.AE (demand made

11 Sep 2021); (14) ¶ 21.AG (demand made 15 Sep 2021); (15) ¶ 21.AI (demand made 5 Oct

2021); (16) ¶ 21.AJ (demand made 7 Dec 2021); (17) ¶ 21.AM (demand made 9 Dec 2021); (18)

¶ 21.AN (demand made 14 Dec 2021); and (19) ¶ 21.AP (demand made 25 Jul 2022);

               B.      Iraq:

               A.      Has not made any payment of any Delinquent Invoice; and

               B.      Has not communicated to Mills Law Group:

                       (1)     Any reason why Iraq has not paid any of the Delinquent Invoices

referenced in Annex A and Paragraph 18, supra, excepting Invoice No. 21-0807-001 (in the

amount of $120,001.00)

                       (2)     Any objection to any Delinquent Invoice referenced in Annex A

and Paragraph 18, supra; excepting Invoice No. 21-0807-001 (in the amount of $120,001.00)




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                        (3)     Any particularized objection or dispute with respect to MLG

Invoice #21-0807-001 that is cognizable as a legally-valid objection to MLG Invoice #21-0807-

001 under the District of Columbia law of account stated.

        22.     Iraq’s failure to pay each of the Delinquent Invoices is a material breach of Iraq’s:

                A.      Legal obligation under the District of Columbia law of account stated to

pay each of the Delinquent Invoices in full, as demanded in writing by Plaintiff Mills Law

Group, after Iraq failed to object to any of the Delinquent Invoices within a reasonable time; and

                B.      Contractual obligations under the Engagement Agreement to pay each

such Invoice within 60 days of presentment.

        23.     During the Term of the Wye Oak Representation, Iraq (acting through the DG of

the MoJ Legal Department and other authorized officials) requested Mills Law Group to

continue to provide Legal Services notwithstanding Iraq’s material breach of Iraq’s contractual

obligations to pay the Delinquent Invoices in accordance with the Engagement Agreement.

        24.     Notwithstanding Iraq’s material breach of such legal obligations to pay each

Delinquent Invoice, solely as a matter of forbearance, Mills Law Group continued to provide

Legal Services and incur Expenses on behalf of Defendants in the continuing Wye Oak

Litigation with the reasonable expectation that Iraq ultimately would pay each such Invoice

without Mills Law Group needing to withdraw from representing Iraq in the Wye Oak Litigation

or to resort to breach of contract litigation against Iraq.

        25.     On or about August 2021, Mills Law Group and Associated Counsel DiMuro

Ginsberg concluded that Iraq was unlikely to cure Iraq’s material breach of contract of its

payment obligations to Mills Law Group. Accordingly:




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                A.     On or about 2 September 2021, with the consent of Iraq: (i) Mills Law

Group and Associated Counsel DiMuro Ginsberg moved to withdraw as counsel of record for

Defendants in the DDC, which the DDC so ordered; and (ii) Mills Law Group withdrew as

counsel of record for Defendants in the D.C. Circuit; and

                B.     On or about 6 October 2021, Mills Law Group terminated its relationship

with Defendants in the Wye Oak Litigation.

          26.   On or about 7 December 2022, Mills Law Group made final written demand to

Iraq for payment of the outstanding delinquency of $4,025,495.65, plus pre-judgment interest

calculated at the pre-judgment interest rate of 6% per annum provided by Code of the District of

Columbia § 28-3302(a), with such interest to commence running on the date 60 days after the

Presentment Date of each Invoice (the “Final Demand”)

          27.   Iraq failed to respond to the Final Demand.

          28.   On Friday, 4 February 2022, the D.C. Circuit decided Iraq’s appeal in Iraq’s

favor, vacating the judgment against Iraq entered by the DDC, and remanding for further

proceedings. The Legal Services provided by Mills Law Group materially contributed to the

outcome of the appeal favorable to Iraq.

                                           Count One
                                        On Account Stated


          29.   The allegations set forth in ¶¶ 1-28, supra, (inclusive of the allegations set forth in

Annexes A and B to the Complaint) are incorporated herein by reference as through fully set out

herein.




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       30.     Defendant Iraq accepted the terms of the Engagement Agreement and the services

provided by Plaintiff Mills Law Group, including, but not limited to, the services provided by

Mills Law Group through its associated counsel of the law firm DiMuro Ginsberg P.C.

       31.     Plaintiff Mills Law Group presented each of the Delinquent Invoices to Iraq, for

payment within 60 days, on the Presentment Date stated in Annex A for each such invoice (i.e.,

the respectively referenced dates between 12 October 2019 and 9 December 2021).

       32.     To date, Defendant Iraq has not communicated any objection to or contested any

of the Delinquent Invoices, with the exception of MLG Invoice #21-0807-001, all as further

alleged in Annex B hereto.

       33.     Defendant Iraq’s communication with respect to MLG Invoice #21-0807-001 (as

set forth and alleged at Annex B, ¶ 21.AK) does not constitute a legally-cognizable objection to

MLG Invoice #21-0807-001 under the applicable District of Columbia law of account stated.

       34.     By virtue of Defendant Iraq’s failure to object to any of the Delinquent Invoices

within a reasonable time, Iraq has accepted each Delinquent Invoice as correct as a matter of the

applicable District of Columbia law of account stated.

       35.     By entering into the Engagement Agreement, Iraq promised to pay each presented

Mills Law Group invoice within 60 days of the Presentment Date.

       36.     To date, Defendant Iraq has failed to remit payment of any of the Delinquent

Invoices to Plaintiff Mills Law Group.

       37.     By reason of the foregoing, each of Plaintiff Mills Law Group and its associated

counsel DiMuro Ginsberg P.C. has been damaged.

       38.     Wherefore, Iraq is indebted to Mills Law Group for the following:




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                 A.     Breach of contract damages in the amount of $4,025,495.65 for the

Delinquent Invoices;

                 B.     For further damages, including a sum for consequential damages, subject

to proof at trial;

                 C.     Pre- and post-judgment interest as provided by District of Columbia law;

and

                 D.     The costs of bringing this action, including reasonable attorneys fees.

                                            Count Two
                                         Breach of Contract

        39.      The allegations set forth in ¶¶ 1-38, supra, are incorporated herein by reference as

through fully set out herein.

        40.      The Engagement Agreement, and Iraq’s material breaches of the Engagement

Agreement alleged in this Complaint, each is purely commercial activity carried on by

Defendants in the United States, the performance or non-performance of which Iraq is not

entitled to sovereign immunity, as provided in 28 U.S.C. § 1605(a)(2).

        41.      Mills Law Group performed its contractual obligations in full and in a manner

conforming to the requirements of the Engagement Agreement.

        42.      Wherefore, Iraq is indebted to Mills Law Group for the following:

                 A.     Breach of contract damages in the amount of $4,025,495.65 for the

Delinquent Invoices;

                 B.     For further damages, including a sum for consequential damages, subject

to proof at trial.

                 C.     Pre- and post-judgment interest as provided by District of Columbia law;

                 D.     The costs of bringing this action, including reasonable attorneys fees.

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                                       Count Three
                 Breach of Implied Covenant of Good Faith and Fair Dealing

       42.     The allegations set forth in ¶¶ 1-28, 40 and 41, supra, are incorporated herein by

reference as through fully set out herein.

       43.     It is settled law in the District of Columbia that there is an implied duty of good

faith and fair dealing in every contract that requires each party to a contract to do nothing “which

will have the effect of destroying or injuring the right of the other party to receive the fruits of

the contract.” See Paul v. Howard Univ., 754 A. 2d 297, 310 (D.C. 2000); Hais v. Smith, 547 A.

2d 986, 987 (D.C. 1988).

       44.     The Engagement Agreement provides that the “fruits of the contract” to be

received by Mills Law Group include, but are not limited to:

               A.      Iraq (acting through MoJ) providing Mills Law Group in advance with

sufficient funds for payment of all Litigation Expenses in excess of $250 per item, such that

Mills Law Group would not be put either: (i) at risk of any Iraq late payment or Iraq non-

payment of incurred Expenses; or (ii) in a position of Mills Law Group having to advance funds

from its own capital to pay for incurred Expenses so as to protect the interests of Iraq against the

detriment that would flow from not incurring and not paying Litigation expenses (including costs

of travel to depositions and to factfinding sessions, payments to court reporters, translations fees,

other pre-trial expenses, trial expenses, post-trial expenses, D.C. Circuit filing fees and appellate

expenses);

               B.      Prompt payment of all Mills Law Group Invoices (whether for Legal Fees

or Expenses) by not later than 60 days of the date that Mills Law Group presented each invoice

to Iraq (through MoJ). In particular:




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                         (1)    During the course of MoJ and Mills Law Group negotiating the

payment terms of the Engagement Agreement, Mills Law Group proposed that each Mills Law

Group invoice shall be paid within thirty (30) days of the date of invoice presentment; and

                         (2)    MoJ, through the then-DG of the MoJ Legal Department, counter-

proposed that the Engagement Agreement be modified to provide that Iraq (through MoJ) shall

pay each Mills Law Group Invoice by not later than sixty (60) days after the date of invoice

presentment (the “Presentment Date”) so as to provide MoJ with sufficient time to take all acts

necessary for Iraq (through MoJ) to pay each Mills Law Group invoice by not later than the

contractually-established Payment Date (not less than sixty (60) days after the date of invoice

presentment)..

        45.      By entering into the Engagement Agreement, Iraq (acting through MoJ)

contractually obligated itself, whether expressly or by implication, to take all acts necessary for

Iraq (through MoJ) to: (i) provide Mills Law Group in advance with funds in sufficient amounts

to cover Expenses; and (ii) pay each Invoice by the Payment Date.

        46.      As alleged in Count Two of this Complaint, MoJ’s taking of “all acts necessary

for Iraq to make advance payment of funds in sufficient amounts to cover Expenses” includes,

but is not limited to:

                 A.      MoJ taking all acts necessary within the Iraqi government to obtain such

funds and to approve payment of such funds to Mills Law Group by not later than sixty (60) days

after receiving Mills Law Group’s request for such funds; and

                 B.      Paying such funds to Mills Law Group by a date not later than thirty (30)

days after MoJ’s receipt of a Mills Law Group request for advance payment of such funds.




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        47.    For purposes of Iraq (through MoJ) paying each invoice by the Payment Date, all

acts necessary includes, but is not limited to:

               A.      The MoJ Legal Department Director General (“DG”) promptly providing

each presented Invoice to the MoJ department responsible for review/internal audit of each

Invoice (the “Reviewing Department);

               B.      The Reviewing Department completing its review of and any report

concerning each presented Invoice to the pertinent MoJ higher authorities with responsibility and

authority for approval and payment of each presented Invoice (the “MoJ Approval Authority”),

in sufficient time for the Approval Time to take all further acts needed to make payment of each

presented Invoice to Mills Law Group by the Payment Date;

               C.      The MoJ Approval Authority promptly considering any Reviewing

Department report with respect to any presented Invoice, and then communicating to Mills Law

Group either (i) that the presented Invoice(s) have been approved and will be paid; or (ii) any

exceptions or disputes concerning any particular invoiced fees or expenses in sufficient time that

any such exceptions or disputes can be resolved promptly through amicable discussions prior to

the Payment Date;

               D.      MoJ promptly obtaining all necessary Iraqi governmental approvals and

funding for payment of each presented Invoice sufficiently ahead of the Payment Date such that

MoJ is able to make payment of each presented Invoice to Mills Law Group by the Payment

Date; and

               E.      Effecting payment of each presented Invoice by not later than the Payment

Date.




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       48.     During the Term of Engagement, Mills Law Group requested that MoJ advance to

Mills Law Group sufficient funds to cover Expenses.

       49.     A.         Iraq (through MoJ) materially breached the implied covenant of good faith

and fair dealing by not taking all necessary acts to pay funds to Mills Law Group, promptly or

otherwise, the amounts of the advances for Expenses requested by Mills Law Group;

               B.         Accordingly, Mills Law Group did not have advance funds from Iraq in

amounts sufficient to pay all Expenses from Iraq-provided funds, either as the Expenses were

incurred or thereafter.

       50.     Strictly as a matter of forbearance, and to avoid irreparable harm to Iraq in the

Wye Oak Litigation, thereafter during the Term of the Engagement, Mills Law Group incurred

legal liability for as-yet unreimbursed Expenses, in the total amount of $287,393.65 (two

hundred eighty-seven thousand three hundred ninety-three dollars and 65 cents).

       51.     Between 10 October 2019 and 9 December 2021, Mills Law Group demanded

that Iraq (through MoJ) timely reimburse Mills Law Group for the $287,393.65 in unreimbursed

incurred Expenses by presenting Iraq (through MoJ) with eight (8) invoices for unreimbursed

Expenses incurred during the Term of the Engagement (the “Unreimbursed Expense Invoices”).

       52.     Iraq (through MoJ) materially breached the implied covenant of good faith and

fair dealing by not taking all necessary acts to pay any of the Unreimbursed Expense Invoices by

the Payment Date, or any time thereafter.

       53.     Between 20 December 2019 and 9 December 2021, Mills Law Group demanded

that Iraq (through MoJ) timely pay Mills Law Group Legal Services fees in the total amount of

$3,738,102.00 (three million seven hundred thirty-eight thousand one hundred and two dollars)




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by presenting Iraq (through MoJ) with fourteen (14) invoices for such Legal Services (the

“Delinquent Legal Services Invoices”).

        54.      Iraq (through MoJ) materially breached the implied covenant of good faith and

fair dealing by not taking all necessary acts to pay any of the Delinquent Legal Services Invoices

by the Payment Date, or any time thereafter.

        55.      Wherefore, Iraq is indebted to Mills Law Group for the following:

                 A.     Breach of the implied covenant of good faith and fair dealing damages in

the total amount of $4,025,495.65, consisting of: (i) $287,393.65 in invoiced and unreimbursed

incurred Expenses; plus (ii) $3,738,102.00 in invoiced and unpaid legal fees;

                 B.     For further damages, including a sum for consequential damages, subject

to proof at trial.

                 C.     Pre- and post-judgment interest as provided by District of Columbia law;

                 D.     The costs of bringing this action, including reasonable attorneys fees.

                                             Count 4
                                          Quantum Meruit

        56.      The allegations set forth in ¶¶ 1-28, 40-41, and 43 through 54, supra, are

incorporated herein by reference as through fully set out herein.

        57.      During the Term of Representation, Mills Law Group:

                 A.     Advanced Wye Oak Litigation Expenses on behalf of Iraq (as stated on the

Delinquent Invoices) in the amounts stated in ¶¶ 18(A)(1), 18(B)(1), and 18(C)(1), supra; and

                 B.     Provided those legal services in the Wye Oak litigation requested by

Defendant Iraq (as stated on the Delinquent Invoices) of the total reasonable value stated in ¶¶

18(A)(2), 18(B)(2), and 18(C)(2), supra.

        58.      Iraq failed to pay any of the amounts referenced in ¶¶ 48(A) and (B), supra.

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       59.     If the Court does not find for Plaintiff Mills Law Group in either Counts One,

Two or Three, then Plaintiff Mills Law Group pleads in the alternative that it is entitled to

recover from Defendant Iraq in quantum meruit in the total amount of $4,025,495.65, consisting

of: (i) $287,393.65 in invoiced and unreimbursed incurred Expenses; plus (ii) $3,738,102.00 in

invoiced and unpaid legal fees.



                                  Conclusion and Prayer for Relief

For all of the foregoing reasons, Mills Law Group respectfully prays that this Honorable Court:

       A.      ASSUME jurisdiction over this Action pursuant to 28 U.S.C. §§ 1330(a) and

1605(a)(2).

       B.      DECLARE that each failure of Iraq to pay the Delinquent Invoices, as stated

above, constitutes a material breach of:

               (1)     Defendant Iraq’s legal obligation to pay Plaintiff Mills Law Group the

debt of $4,025,495.65 on the account stated between Plaintiff Mills Law Group and Defendant

Iraq on the Mills Law Group Wye Oak Group Wye Oak Litigation Expense Invoices and Wye

Oak Litigation Legal Fees Invoices presented to Iraq;

               (2)     The Engagement Agreement to which the invoices pertain; and

               (3)     The implied covenant of good faith and fair dealing; and

               (4)     In the alternative, Defendant Iraq’s legal obligation under the law of

quantum meruit to pay the Delinquent Invoices;

       C.      ENTER judgment in favor of Mills Law Group and against Iraq for:

               (1)     Total on account stated damages in the amount of $4,025,495.65; or




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                 (2)    In the alternative, breach of contract damages in the amount of

$4,025,495.65; and

                 (3)    In the alternative, quantum meruit damages in the amount of

$4,025,495.65; and

                 (4)    The reasonable costs of MLG’s efforts to collect the $4,025,495.65 from

Iraq, including, but not limited to, including attorneys fees, expenses and the costs incurred in

bringing and maintaining this action;

       D.        GRANT Mills Law Group pre-judgment interest on the above-mentioned sums,

from the date each clement of the unpaid debt became due and payable, at the rate established by

District of Columbia law;

       E.        AWARD to Mills Law Group the costs of bringing this Action, including

reasonable attorneys fees and expenses: and

       F.        GRANT Mills Law Group such additional relief as to the Court shall deem just

and equitable.

Date: October 30, 2022                        Respectfully submitted,

                                              MILLS LAW GROUP LLP

                                              By:    /s/ Timothy B. Mills
                                              Timothy B. Mills
                                              D.C. Bar No. 425209
                                              800 Connecticut Avenue N.W., Suite 300
                                              Washington, DC 20006
                                              Telephone: (202) 457-8090
                                              Fax: (202) 478-5081
                                              timothy.mills@mills-lawgrp.com
                                              Lead Counsel for Plaintiff Mills Law Group LLP




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                             ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                                  (As of 30 September 2022)

 Complaint       MLG Invoice          Invoice                 1. Period Covered;
   ¶#                (1) No.        Amount Due          2. Further Factual Allegations
                    (2) Date
                (3) Presentment
                      Date

                     MLG Invoice Groups E-1 through E-4
  Delinquent MLG Wye Oak Incurred Litigation Cost Invoices (Presented 2019-2021)


                  MLG Invoice Group E-1 (Presented 12 October 2019)
¶ 18.A               Original    $3,373.35     1. Period Covered:
                   (Incorrect)                 March-December 2018
               (1) 19-1009-001
               (2) 10 Oct 2019                 2. Further Factual Allegations:
               (3) 12 Oct 2019
                                               As of the date stated above, Iraq has not:
               Corrected Invoice
               (1) 19-1009-001C                A. Objected to this invoice;
                 (2) 7 Dec 2019
                 (3) 7 Dec 2019                B. Taken any issue with any of the
                                               expenses stated on this invoice; or

                                                   C. Provided any explanation whatsoever
                                                   why Iraq has not paid this invoice,
                                                   despite Mills Law making payment
                                                   demands to Iraq between December 2019
                                                   and August 2022; and

                                                   D. As of the date stated above, has not
                                                   paid this invoice.

¶ 18.B              Original         $17,482.18    1. Period Covered: January 2019
                   (Incorrect)
               (1) 19-1009-002                     2. Further Factual Allegations:
               (2) 10 Oct 2019
               (3) 12 Oct 2019                     As of the date stated above, Iraq has not:


                                            A-1
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                             ANNEX A TO COMPLAINT

   History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
           and Iraq Non-Objection and Non-Payment of Presented Invoices

                                 (As of 30 September 2022)

 Complaint       MLG Invoice         Invoice                 1. Period Covered;
   ¶#                 (1) No.      Amount Due          2. Further Factual Allegations
                     (2) Date
                (3) Presentment
                       Date
               Corrected Invoice                  A. Objected to this invoice;
               (1) 19-1009-002C
                 (2) 7 Dec 2019                   B. Taken any issue with any of the
                 (3) 7 Dec 2019                   expenses stated on this invoice; or

                                                  C. Provided any explanation whatsoever
                                                  why Iraq has not paid this invoice,
                                                  despite Mills Law making payment
                                                  demands to Iraq between December 2019
                                                  and August 2022; and

                                                  D. As of the date stated above, has not
                                                  paid this invoice.

¶ 18.C              Original        $240,041.24   1. Period Covered:
                   (Incorrect)                    February-September 2019
               (1) 19-1009-003
               (2) 10 Oct 2019                    2. Further Factual Allegations:
               (3) 12 Oct 2019
                                                  As of the date stated above, Iraq has not:
               Corrected Invoice
               (1) 19-1009-003C                   A. Objected to this invoice;
                 (2) 7 Dec 2019
                 (3) 7 Dec 2019                   B. Taken any issue with any of the
                                                  expenses stated on this invoice; or

                                                  C. Provided any explanation whatsoever
                                                  why Iraq has not paid this invoice,
                                                  despite Mills Law making payment
                                                  demands to Iraq between December 2019
                                                  and August 2022; and




                                           A-2
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                             ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                                  (As of 30 September 2022)

 Complaint       MLG Invoice          Invoice                 1. Period Covered;
   ¶#                (1) No.        Amount Due          2. Further Factual Allegations
                    (2) Date
                (3) Presentment
                      Date
                                                   D. As of the date stated above, has not
                                                   paid this invoice.

¶ 18.D          (1) 19-1203-001       $5,793.37    1. Period Covered:
                 (2) 3 Dec 2019                    17 December 2018-25 July 2019
                 (3) 7 Dec 2019
                                                   2. Further Factual Allegations:

                                                   As of the date stated above, Iraq has not:

                                                   A. Objected to this invoice;

                                                   B. Taken any issue with any of the
                                                   expenses stated on this invoice; or

                                                   C. Provided any explanation whatsoever
                                                   why Iraq has not paid this invoice,
                                                   despite Mills Law making payment
                                                   demands to Iraq between December 2019
                                                   and August 2022; and

                                                   D. As of the date stated above, has not
                                                   paid this invoice.

¶ 18.E                         $266,690.14
Total Iraq Delinquency in
Payment of
MLG Group E-1 Incurred
Expense Invoices
                MLG Invoice Group E-2 (Presented 22 December 2019)
 Complaint      MLG Invoice      Invoice      Further Factual Allegations
     ¶#             (1) No.    Amount Due
                   (2) Date

                                            A-3
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                             ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                                  (As of 30 September 2022)

 Complaint       MLG Invoice          Invoice                 1. Period Covered;
   ¶#                (1) No.        Amount Due          2. Further Factual Allegations
                    (2) Date
                (3) Presentment
                      Date
                (3) Presentment
                      Date
¶ 18.F          (1) 19-1219-001       $3,791.40    1. Period Covered:
                (2) 19 Dec 2019                    13-18 December 2019
                (3) 22 Dec 2019
                                                   2. Further Factual Allegations:

                                                   As of the date stated above, Iraq has not:

                                                   A. Objected to this invoice;

                                                   B. Taken any issue with any of the
                                                   expenses stated on this invoice; or

                                                   C. Provided any explanation whatsoever
                                                   why Iraq has not paid this invoice,
                                                   despite Mills Law making payment
                                                   demands to Iraq between April 2019 and
                                                   August 2022; and

                                                   D. As of the date stated above, has not
                                                   paid this invoice.

¶ 18.G                                $3,791.40
Total Iraq Delinquency in
Payment of
MLG Group E-2 Incurred
Expense Invoices
                          MLG Invoice Groups E-1 and E-2
 (Total of Incurred Wye Oak Litigation Delinquent Expense Invoices Presented in 2019)
¶ 18.H                           $270,481.54
MLG Invoice Group E-1 and


                                            A-4
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                            ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                                 (As of 30 September 2022)

 Complaint      MLG Invoice          Invoice                 1. Period Covered;
   ¶#               (1) No.        Amount Due          2. Further Factual Allegations
                   (2) Date
               (3) Presentment
                     Date
E-2 Delinquent Incurred
Expense Invoices Total
                               MLG Invoice Group E-3
  (Delinquent MLG Wye Oak Litigation Incurred Expense Invoices Presented in 2020)
 Complaint      MLG Invoice       Invoice           Further Factual Allegations
     ¶#             (1) No.     Amount Due
                   (2) Date
              (3) Presentment
                     Date
¶ 18.I         (1) 20-1228-001   $5,649.02    1. Period Covered:
               (2) 28 Dec 2020                1 January 2020-28 December 2020
               (3) 29 Dec 2020
                                              2. Further Factual Allegations:

                                                  As of the date stated above, Iraq has not:

                                                  A. Objected to this invoice;

                                                  B. Taken any issue with any of the
                                                  expenses stated on this invoice; or

                                                  C. Provided any explanation whatsoever
                                                  why Iraq has not paid this invoice,
                                                  despite Mills Law making payment
                                                  demands to Iraq between the payment
                                                  due date for this invoice and the date of
                                                  commencement of this action; and

                                                  D. As of the date stated above, has not
                                                  paid this invoice.




                                           A-5
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                             ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                                  (As of 30 September 2022)

 Complaint       MLG Invoice          Invoice                 1. Period Covered;
   ¶#                (1) No.        Amount Due          2. Further Factual Allegations
                    (2) Date
                (3) Presentment
                      Date
                                                   E. Under the District of Columbia law of
                                                   on account stated, Iraq agreed with
                                                   and/or accepted this Invoice.


¶ 18.J            (1) 20-1230-        $7,518.00    1. Period Covered:
                     001(E)                        2 October 2019
                (2) 30 Dec 2020
                (3) 30 Dec 2020                    2. Further Factual Allegations:

                                                   As of the date stated above, Iraq has not:

                                                   A. Objected to this invoice;

                                                   B. Taken any issue with any of the
                                                   expenses stated on this invoice; or

                                                   C. Provided any explanation whatsoever
                                                   why Iraq has not paid this invoice,
                                                   despite Mills Law making payment
                                                   demands to Iraq between the payment
                                                   due date for this invoice and the date of
                                                   commencement of this action; and

                                                   D. As of the date stated above, has not
                                                   paid this invoice.

                                                   E. Under the District of Columbia law of
                                                   on account stated, Iraq agreed with
                                                   and/or accepted this Invoice.

¶ 18.K                               $13,149.02


                                            A-6
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                             ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                                  (As of 30 September 2022)

 Complaint       MLG Invoice          Invoice                 1. Period Covered;
   ¶#                (1) No.        Amount Due          2. Further Factual Allegations
                    (2) Date
                (3) Presentment
                      Date
Total Iraq Delinquency in
Payment of
MLG Group E-3 Incurred
Expense Invoices
                               MLG Invoice Group E-4
  (Delinquent MLG Wye Oak Litigation Incurred Expense Invoices Presented in 2021)
 Complaint       MLG Invoice      Invoice           Further Factual Allegations
     ¶#              (1) No.    Amount Due
                    (2) Date
              (3) Presentment
                      Date
¶ 18.L         (1) 21-0807-002   $2,564.04    1. Period Covered:
                (2) 8 Aug 2021                1 January 2021-31 July 2021
                (3) 8 Aug 2021
                                              2. Further Factual Allegations:

                                                   As of the date stated above, Iraq has not:

                                                   A. Objected to this invoice;

                                                   B. Taken any issue with any of the
                                                   expenses stated on this invoice; or

                                                   C. Provided any explanation whatsoever
                                                   why Iraq has not paid this invoice,
                                                   despite Mills Law making payment
                                                   demands to Iraq between the payment
                                                   due date for this invoice and the date of
                                                   commencement of this action; and

                                                   D. As of the date stated above, has not
                                                   paid this invoice.


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                            ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                                 (As of 30 September 2022)

 Complaint      MLG Invoice          Invoice                 1. Period Covered;
   ¶#               (1) No.        Amount Due          2. Further Factual Allegations
                   (2) Date
               (3) Presentment
                     Date
                                                  E. Under the District of Columbia law of
                                                  on account stated, Iraq agreed with
                                                  and/or accepted this Invoice.

¶ 18.M         (1) 21-1209-002       $1,199.05    1. Period Covered:
                (2) 9 Dec 2021                    1 August 2021-24 September 2021
                (3) 9 Dec 2021
                                                  2. Further Factual Allegations:

                                                  As of the date stated above, Iraq has not:

                                                  A. Objected to this invoice;

                                                  B. Taken any issue with any of the
                                                  expenses stated on this invoice; or

                                                  C. Provided any explanation whatsoever
                                                  why Iraq has not paid this invoice,
                                                  despite Mills Law making payment
                                                  demands to Iraq between the payment
                                                  due date for this invoice and the date of
                                                  commencement of this action; and

                                                  D. As of the date stated above, has not
                                                  paid this invoice.

                                                  E. Under the District of Columbia law of
                                                  on account stated, Iraq agreed with
                                                  and/or accepted this Invoice.

¶ 18.N                               $3,763.09    None.
Total Iraq Delinquency in
Payment of

                                           A-8
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                             ANNEX A TO COMPLAINT

    History of Mills Law Group Presentment of Wye Oak Litigation Invoices to Iraq
            and Iraq Non-Objection and Non-Payment of Presented Invoices

                               (As of 30 September 2022)

 Complaint       MLG Invoice       Invoice              1. Period Covered;
   ¶#                (1) No.    Amount Due        2. Further Factual Allegations
                    (2) Date
                (3) Presentment
                      Date
MLG Group E-4 Incurred
Expense Invoices
         Total Delinquent MLG Wye Oak Litigation Incurred Expense Invoices
     Sub-¶ # of Complaint          Invoice          Further Factual Allegations
        Invoice Group #            Group
                                   Amount
                                 Delinquent
¶ 18.O                          $266,690.14 None.
MLG Invoice Group E-1
¶ 18.P                            $3,791.40   None.
MLG Invoice Group E-2
¶ 18.Q                           $13,149.02   None.
MLG Invoice Group E-3
¶ 18.R                            $3,763.09   None.
MLG Invoice Group E-4
¶ 18.S                          $287,393.65 None.
Total Iraq Delinquency in
Payment of MLG Wye Oak
Litigation Expense Invoices



                        MLG Invoice Groups F-1 through F-3
         Delinquent MLG Wye Oak Litigation Fee Invoices (Presented 2019-2021)

                MLG Invoice Group F-1 (Presented 22-28 December 2019)
Complaint       MLG Invoice      Invoice                 1. Period Covered;
  ¶#                (1) No.    Amount Due          2. Further Factual Allegations
                   (2) Date
               (3) Presentment
                     Date
¶ 18.T         (1) 19-1220-001  $52,245.00   1. Period Covered:
               (2) 20 Dec 2019               5 March 2018-2 June 2018

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               (3) 22 Dec 2019
                                                2. Further Factual Allegations:

                                                As of the date stated above, Iraq has not:

                                                A. Objected to this invoice;

                                                B. Taken any issue with any of the
                                                expenses stated on this invoice; or

                                                C. Provided any explanation whatsoever
                                                why Iraq has not paid this invoice, despite
                                                Mills Law making payment demands to
                                                Iraq between the payment due date for this
                                                invoice and the date of commencement of
                                                this action; and

                                                D. As of the date stated above, has not paid
                                                this invoice.

                                                E. Under the District of Columbia law of
                                                on account stated, Iraq agreed with and/or
                                                accepted this Invoice.

¶ 18.U         (1) 19-1220-002   $790,182.50    1. Period Covered:
               (2) 20 Dec 2019                  3 June 2018 through 25 September 2018
               (3) 23 Dec 2019
                                                2. Further Factual Allegations:

                                                As of the date stated above, Iraq has not:

                                                A. Objected to this invoice;

                                                B. Taken any issue with any of the
                                                expenses stated on this invoice; or

                                                C. Provided any explanation whatsoever
                                                why Iraq has not paid this invoice, despite
                                                Mills Law making payment demands to
                                                Iraq between the payment due date for this
                                                invoice and the date of commencement of
                                                this action; and

                                                D. As of the date stated above, has not paid
                                                this invoice.



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                                                E. Under the District of Columbia law of
                                                on account stated, Iraq agreed with and/or
                                                accepted this Invoice.

¶ 18.V         (1) 19-1223-001   $609,204.50    1. Period Covered:
               (2) 23 Dec 2019                  26 September 2018-31 December 2018
               (3) 24 Dec 2019
                                                2. Further Factual Allegations:

                                                As of the date stated above, Iraq has not:

                                                A. Objected to this invoice;

                                                B. Taken any issue with any of the
                                                expenses stated on this invoice; or

                                                C. Provided any explanation whatsoever
                                                why Iraq has not paid this invoice, despite
                                                Mills Law making payment demands to
                                                Iraq between the payment due date for this
                                                invoice and the date of commencement of
                                                this action; and

                                                D. As of the date stated above, has not paid
                                                this invoice.

                                                E. Under the District of Columbia law of
                                                on account stated, Iraq agreed with and/or
                                                accepted this Invoice.

¶ 18.W         (1) 19-1225-001   $678,596.50    1. Period Covered:
               (2) 25 Dec 2019                  1 January 2019-31 March 2019
               (3) 26 Dec 2019
                                                2. Further Factual Allegations:

                                                As of the date stated above, Iraq has not:

                                                A. Objected to this invoice;

                                                B. Taken any issue with any of the
                                                expenses stated on this invoice; or

                                                C. Provided any explanation whatsoever
                                                why Iraq has not paid this invoice, despite
                                                Mills Law making payment demands to
                                                Iraq between the payment due date for this

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                                                invoice and the date of commencement of
                                                this action; and

                                                D. As of the date stated above, has not paid
                                                this invoice.

                                                E. Under the District of Columbia law of
                                                on account stated, Iraq agreed with and/or
                                                accepted this Invoice.

¶ 18.X             Original      $561,498.00    1. Period Covered:
                  Inaccurate                    1 April 2019-30 June 2019
               (1) 19-1226-001
               (2) 26 Dec 2019                  2. Further Factual Allegations:
               (3) 27 Dec 2019
                                                As of the date stated above, Iraq has not:

                                                A. Objected to this invoice;

                                                B. Taken any issue with any of the
                                                expenses stated on this invoice; or

                                                C. Provided any explanation whatsoever
                                                why Iraq has not paid this invoice, despite
                                                Mills Law making payment demands to
                                                Iraq between the payment due date for this
                                                invoice and the date of commencement of
                                                this action; and

                                                D. As of the date stated above, has not paid
                                                this invoice.

                                                E. Under the District of Columbia law of
                                                on account stated, Iraq agreed with and/or
                                                accepted this Invoice.

¶ 18.Y         (1) 19-1227-001   $313,824.00    1. Period Covered:
               (2) 27 Dec 2019                  1 July 2019-30 September 2019
               (3) 27 Dec 2019
                                                2. Further Factual Allegations:

                                                As of the date stated above, Iraq has not:

                                                A. Objected to this invoice;




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                                                 B. Taken any issue with any of the
                                                 expenses stated on this invoice; or

                                                 C. Provided any explanation whatsoever
                                                 why Iraq has not paid this invoice, despite
                                                 Mills Law making payment demands to
                                                 Iraq between the payment due date for this
                                                 invoice and the date of commencement of
                                                 this action; and

                                                 D. As of the date stated above, has not paid
                                                 this invoice.

                                                 E. Under the District of Columbia law of
                                                 on account stated, Iraq agreed with and/or
                                                 accepted this Invoice.

¶ 18.Z         (1) 19-1228-001    $67,618.00     1. Period Covered:
               (2) 28 Dec 2019                   1 October 2019-25 November 2019
               (3) 28 Dec 2019
                                                 2. Further Factual Allegations:

                                                 As of the date stated above, Iraq has not:

                                                 A. Objected to this invoice;

                                                 B. Taken any issue with any of the
                                                 expenses stated on this invoice; or

                                                 C. Provided any explanation whatsoever
                                                 why Iraq has not paid this invoice, despite
                                                 Mills Law making payment demands to
                                                 Iraq between the payment due date for this
                                                 invoice and the date of commencement of
                                                 this action; and

                                                 D. As of the date stated above, has not paid
                                                 this invoice.

                                                 E. Under the District of Columbia law of
                                                 on account stated, Iraq agreed with and/or
                                                 accepted this Invoice.

¶ 18.AA                          $3,073,150.50
Total Iraq Delinquency in
Payment of

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MLG Group F-1 Incurred
Fees Invoices
               MLG Invoice Group F-2 (Presented 27-31 December 2020)
Complaint      MLG Invoice      Invoice                 1. Period Covered;
    ¶#             (1) No.    Amount Due          2. Further Factual Allegations
                  (2) Date
              (3) Presentment
                    Date
¶ 18.AB       (1) 20-1226-001 $111,287.50 1. Period Covered:
              (2) 26 Dec 2020               26 November 2019-31 December 2019
              (3) 27 Dec 2020
                                            2. Further Factual Allegations:

                                              As of the date stated above, Iraq has not:

                                              A. Objected to this invoice;

                                              B. Taken any issue with any of the
                                              expenses stated on this invoice; or

                                              C. Provided any explanation whatsoever
                                              why Iraq has not paid this invoice, despite
                                              Mills Law making payment demands to
                                              Iraq between the payment due date for this
                                              invoice and the date of commencement of
                                              this action; and

                                              D. As of the date stated above, has not paid
                                              this invoice.

                                              E. Under the District of Columbia law of
                                              on account stated, Iraq agreed with and/or
                                              accepted this Invoice.

¶ 18.AC      (1) 20-1227-001   $36,410.00     1. Period Covered:
             (2) 27 Dec 2020                  1 January 2020-31 March 2020
             (3) 27 Dec 2020
                                              2. Further Factual Allegations:

                                              As of the date stated above, Iraq has not:

                                              A. Objected to this invoice;

                                              B. Taken any issue with any of the
                                              expenses stated on this invoice; or


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                                            C. Provided any explanation whatsoever
                                            why Iraq has not paid this invoice, despite
                                            Mills Law making payment demands to
                                            Iraq between the payment due date for this
                                            invoice and the date of commencement of
                                            this action; and

                                            D. As of the date stated above, has not paid
                                            this invoice.

                                            E. Under the District of Columbia law of
                                            on account stated, Iraq agreed with and/or
                                            accepted this Invoice.

¶ 18.AD    (1) 20-1230-002   $144,370.00    1 Period Covered:
           (2) 30 Dec 2020                  1 April 2020-30 June 2020
           (3) 30 Dec 2020

                                            2. Further Factual Allegations:

                                            As of the date stated above, Iraq has not:

                                            A. Objected to this invoice;

                                            B. Taken any issue with any of the
                                            expenses stated on this invoice; or

                                            C. Provided any explanation whatsoever
                                            why Iraq has not paid this invoice, despite
                                            Mills Law making payment demands to
                                            Iraq between the payment due date for this
                                            invoice and the date of commencement of
                                            this action; and

                                            D. As of the date stated above, has not paid
                                            this invoice.

                                            E. Under the District of Columbia law of
                                            on account stated, Iraq agreed with and/or
                                            accepted this Invoice.

¶ 18.AE       Inaccurate     $126,097.00    1. Period Covered:
               Original                     1 July 2020-30 September 2020
           (1) 20-1230-001
           (2) 31 Dec 2020                  2. Further Factual Allegations:
           (3) 30 Dec 2020

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               Corrected                   As of the date stated above, Iraq has not:
             -(1) 20-1230-
              001(F)(corr)                 A. Objected to this invoice;
           (2) 31 Dec 2020
            (3) 2 Feb 2021                 B. Taken any issue with any of the
                                           expenses stated on this invoice; or

                                           C. Provided any explanation whatsoever
                                           why Iraq has not paid this invoice, despite
                                           Mills Law making payment demands to
                                           Iraq between the payment due date for this
                                           invoice and the date of commencement of
                                           this action; and

                                           D. As of the date stated above, has not paid
                                           this invoice.

                                           E. Under the District of Columbia law of
                                           on account stated, Iraq agreed with and/or
                                           accepted this Invoice.

¶ 18.AF    (1) 20-1231-002   $79,797.00    1. Period Covered:
           (2) 31 Dec 2020                 1 October 2020-30 December 2020
           (3) 31 Dec 2020
                                           2. MoJ Request for Clarification and MLG
                                           Response, dated 29 June 2021.

                                           A. MoJ made the following request for
                                           clarification concerning the following
                                           aspects of this invoice by email dated 29
                                           June 2021:

                                           Subject: Fees

                                           “I would like to clarify that, we noticed
                                           through auditing the invoice of fees for
                                           period 2/9/2020 – 31/12/2020, the hourly
                                           rates of your submitted services is the same
                                           as the assistants (Mr. Ben Dimuro & Mr.
                                           Jonathan Mook ). I hope you clarify that.”

                                           See true and correct extract of email
                                           communication, Complaint Annex B at ¶
                                           21.AA.




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                                    B. MLG responded by email dated 29 June
                                    2021:

                                    “Today we received the below email from
                                    your Ministry’s legal department belatedly
                                    claiming that there is some issue with the
                                    hourly rate of $650 for our co-counsel Mr.
                                    Ben DiMuro and Mr. Jonathan Mook on
                                    the Mills Law Group invoices for services
                                    provided in 2020 in defense of Iraq and the
                                    Ministry of Defense (MoD) in the Wye
                                    Oak litigation.

                                    This assertion is entirely meritless (see
                                    footnote, below), and is in complete bad
                                    faith, made only for the purpose of MoJ
                                    and Iraq attempting to illegally further
                                    delay MoJ’s gravely delinquent payment in
                                    full of our invoices for $3,854,742.56 –
                                    plus interest of more than $300,000, plus
                                    attorneys fees and costs of litigation – by
                                    tomorrow, 30 June 2021 (as we have
                                    demanded advised you).

                                                     *   *   *

                                    Footnote: In signing the MoJ-Mills Law
                                    Group engagement letter (dated 25 March
                                    2021), MoJ agreed to the following
                                    provision: “Billing rates for other partners
                                    [partners other than Mr. Mills] range
                                    between $450 and $650 per
                                    hour.” Attorneys Mr. Dimuro and Mr.
                                    Mook are senior partners who have the
                                    same experience level as Mr. Mills, and
                                    each served as co-counsel to Mr. Mills (not
                                    as juniors) in the Wye Oak
                                    litigation. Furthermore, the $650 hourly
                                    rate for partners Mr. Mills, Mr. Dimuro
                                    and Mr. Mook is per se reasonable, being
                                    less than the hourly rate for partners that
                                    the Court already recognized as reasonable
                                    during the Court consideration of the
                                    reasonableness of the hourly rates of Wye
                                    Oak’s counsel (i.e., hourly rates that were
                                    $800 or more).

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                                              See true and correct extract of email
                                              communication, Complaint Annex B at ¶
                                              21.AB.

                                              3. Thereafter, Iraq did not communicate
                                              any further concerning this invoice.
                                              Specifically, Iraq did not:

                                              A. Reply to MLG’s 29 June 2021
                                              response;

                                              B. Request any further clarifications or
                                              make any further inquiries with respect to
                                              this invoice; or

                                              C. Object to this invoice.

                                              4. As a matter of law:

                                              A. The MoJ request for clarification was
                                              made six months after MLG presented the
                                              invoice to Iraq. Iraq did not make the
                                              inquiry within a reasonable time after the
                                              31 December 2020 date of presentment.
                                              Pursuant to the Engagement Agreement,
                                              Invoice payment was due on 1 March 2021
                                              -- 60 days after the presentment date;

                                              B. Iraq’s request for clarification does not
                                              constitute a legally-cognizable objection to
                                              the invoice under District of Columbia on
                                              account stated law;

                                              C. Under the District of Columbia law of
                                              on account stated, Iraq agreed with and/or
                                              accepted this Invoice.

¶ 18.AG                      $497,961.50
Total Iraq Delinquency in
Payment of
MLG Group F-2 Incurred
Fees Invoices
           MLG Invoice Group F-3 (Presented 8 Aug 2021-9 December 2021)
Complaint      MLG Invoice      Invoice                1. Period Covered;
    ¶#            (1) No.    Amount Due          2. Further Factual Allegations

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                (2) Date
           (3) Presentment
                  Date
¶ 18.AH    (1) 21-0807-001   $120,001.00    1. Period Covered:
            (2) 7 Aug 2021                  1 January 2021-31 July 2021
            (3) 8 Aug 2021
                                            2. Further Factual Allegations:

                                            3. MoJ email dated 8 December 2021:

                                            A. On 8 December 2021 (four (4) months
                                            after MLG presented this invoice to MoJ),
                                            MoJ commented:

                                            “Reference to your email dated 8th of
                                            August 2021

                                            Your invoice of fees no. (21-0807-001)
                                            have been audited. I have noted that the
                                            amount of the invoice is very high and the
                                            only work on the case was to review the
                                            summary of Wye Oak appeal, the draft
                                            response and correspondence regarding the
                                            revised attorney time summaries.

                                            Accordingly, we suggest that you reduce
                                            the amount of the invoice so that we can
                                            proceed with payment procedures.”

                                            See Annex B to the Complaint at ¶ 21.AK
                                            (true and correct extract of MoJ email).

                                            B. On 14 December 2021, Mills Law
                                            Group contested MoJ’s contentions as
                                            follows:

                                            “I acknowledge receipt of the 8 December
                                            2021 communication by MoJ Legal
                                            Department Director General Hanan
                                            Nisaef by which Your Ministry has
                                            repudiated its legally-enforceable
                                            contractual obligations to pay the above-
                                            referenced Mills Law Group invoice (the
                                            “Invoice”) as presented.




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                                    First, DG Nisaef’s communication
                                    constitutes nothing more than an
                                    unprofessional, meritless invitation for
                                    Mills Law Group to negotiate against
                                    ourselves as though we are in a souk and
                                    bargaining over an unpriced toy. We
                                    decline to participate in such improprieties.

                                                     *   *    *

                                    Second, the reason communicated by DG
                                    Nisaef for MoJ not proceeding to pay the
                                    above-referenced invoices is devoid of any
                                    merit, and, thus, completely pretextual. All
                                    of the legal services we provided in the
                                    Wye Oak case between [the invoice period
                                    of] 1 January 2021 and 31 July 2021 were
                                    provided at the express request and
                                    authorization – and under the supervision
                                    of – the successor lead counsel appointed
                                    by MoJ for the Wye Oak case (the
                                    attorneys of Cleary Gottleib). As a matter
                                    of applicable law, MoJ’s appointment of
                                    Cleary Gottleib – and MoJ’s instructions to
                                    us to fully cooperate with Cleary Gottleib
                                    as Wye Oak lead counsel – means that all
                                    of our invoiced legal services, and the
                                    extent of our invoiced legal services, were
                                    pre-authorized by Iraq.

                                    Nothing that DG Nisaef now summarily
                                    contends or communicates changes this
                                    fact.

                                    Accordingly payment is full is overdue.

                                    Third, Mills Law Group presented the
                                    Invoices on 8 August 2021. By the terms
                                    of the controlling Mills Law Group
                                    engagement contract with MoJ, MoJ is
                                    legally obligated to pay the Invoices by
                                    deposit of full payment into the Mills Law
                                    Group bank account by not later than sixty
                                    (60) days after presentment – in this
                                    instance, by not later than 7 October 2021.



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                                    Iraq (through the inactions of your
                                    Ministry) has materially breached its
                                    contractual payment obligations by: (1) not
                                    paying the Invoices in full by [date]; and
                                    (2) concocting bad faith excuses for MoJ
                                    not paying the Invoices.

                                    Fourth, Iraq (acting through MoJ)
                                    continues to be in material breach of
                                    obligation to pay all Mills Law Group Wye
                                    Oak invoices in full –twelve (12) invoices
                                    presented in 2019, seven (7) invoices
                                    presented in 2020 and four (4) invoices
                                    presented in 2021, in all totaling
                                    US$4,025,495.65 (four million, twenty-
                                    five thousand, four hundred and ninety-
                                    five United States dollars and sixty-five
                                    cents).

                                    Iraq (through MoJ) has not paid even one
                                    cent of these 23 invoices.

                                    And, Iraq (through MoJ) has not given
                                    Mills Law Group any reason whatsoever
                                    for not paying any of the 23 invoices.

                                                     *   *    *

                                    Fifth, in light of the foregoing, Iraq
                                    (through MoJ) leaves Mills Law Group
                                    with no alternative but to sue Iraq for our
                                    fees and expenses in the United States
                                    District Court for the District of Columbia.

                                    Accordingly, unless Iraq (through MoJ)
                                    gives us a good reason not to sue – by now
                                    paying the 23 invoices in full – we will see
                                    Iraq in Court.”

                                    (Emphasis in original.)

                                    See Annex B to the Complaint at ¶ 21.AN
                                    (true and correct extract of MLG email).




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                                            3. Thereafter, Iraq did not communicate
                                            any further concerning this invoice.
                                            Specifically, Iraq did not:

                                            A. Reply to MLG’s 14 December 2021
                                            response;

                                            B. Request any further clarifications or
                                            make any further inquiries with respect to
                                            this invoice; or

                                            C. Specifically object to invoice entry or
                                            to any particular amount of this invoice.

                                            4. As a matter of law:

                                            A. The MoJ comment was made four
                                            months after MLG presented the invoice to
                                            Iraq. Iraq did not make the inquiry within a
                                            reasonable time after the 8 August 2021
                                            date of presentment. Pursuant to the
                                            Engagement Agreement, Invoice payment
                                            was due on 7 October 2021 -- 60 days after
                                            the presentment date;

                                            B. Iraq’s request for clarification does not
                                            constitute a legally-cognizable objection to
                                            the invoice under District of Columbia on
                                            account stated law;

                                            C. Under the District of Columbia law of
                                            on account stated, Iraq agreed with and/or
                                            accepted this Invoice.

¶ 18.AI     (1) 21-1209-001   $46,989.00    1. Period Covered:
             (2) 9 Dec 2021                 1 August 2021-5 October 2021
             (3) 9 Dec 2021
                                            2. Further Factual Allegations:

                                            As of the date stated above, Iraq has not:

                                            A. Objected to this invoice;

                                            B. Taken any issue with any of the
                                            expenses stated on this invoice; or



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                                             C. Provided any explanation whatsoever
                                             why Iraq has not paid this invoice, despite
                                             Mills Law making payment demands to
                                             Iraq between the payment due date for this
                                             invoice and the date of commencement of
                                             this action; and

                                             D. As of the date stated above, has not paid
                                             this invoice.

                                             E. Under the District of Columbia law of
                                             on account stated, Iraq agreed with and/or
                                             accepted this Invoice.

¶ 18.AJ                            $166,990.00
Total Iraq Delinquency in
Payment of
MLG Group F-3 Incurred
Fees Invoices
            Total Delinquent MLG Wye Oak Litigation Incurred Fees Invoices
¶ 18.AK                           $3,073,150.50
MLG Invoice Group F-1
¶ 18.AL                            $497,961.50
MLG Invoice Group F-2
¶ 18.AM                            $166,990.00
MLG Invoice Group F-3
¶ 18.AN                           $3,738,102.00
Total Iraq Delinquency in
Payment of MLG Wye Oak
Litigation Fees Invoices
     Grand Total: Delinquent MLG Wye Oak Litigation Expense and Fees Invoices
                             (Presented in 2019, 2020 and 2021)
¶ 18.AO                            $287,393.65
Total Iraq Delinquency in
Payment of MLG Invoice
Groups E-1, E-2, E-3 and E-4
Wye Oak Litigation Expense
Invoices
¶ 18.AP                           $3,738,102.00
Total Iraq Delinquency in
Payment of MLG Invoice
Groups F-1, F-2 and F3 Wye
Oak Litigation Fees Invoices
¶ 18.AQ                           $4,025,495.65



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Grand Total Iraq
Delinquency in Payment of
MLG Invoices




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                                                ANNEX B TO COMPLAINT

                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

       (1)            (2)                         (3)                            (4)                                (5)
   Complaint    Addressees and             Pertinent Invoices          Subject/Communication                    Response
 Sub¶ No. and   Sending Party*/                                                                                  (if any)
     Date of
Communication
¶ 21.A        TO:                          MLG Invoices          MLG email presentment of MLG             MoJ email
12 Oct 2019   MoJ                          constituting MLG      Invoice Group E-1 invoices for Wye       dated 24 Oct 2019
                                           Invoice Group E-1     Oak incurred litigation expenses paid    (¶ 21.B, infra)
                    FM:                    **/                   by Mills Law Group on behalf of Iraq
                    MLG                                          during period of March 2018-
                                                                 September 2019, totaling $266,690.14.
¶ 21.B              TO:                    MLG Invoices          Subject: MLG Wye Oak Litigation          MLG email
24 Oct 2019         MLG                    constituting MLG      Expense Invoices                         Dated 7 Dec 2021
                                           Invoice Group E-1                                              (¶ 21.C, infra)
                    FM:                                          “May I ask your good self to provide
                    MoJ                                          me with the receipts of mentioned
                                                                 services in your invoices No. (19-
                                                                 100901) (19-100902) and (19-100903)
                                                                 including the fees of court. More of
                                                                 that I hope you inform me the cause of
                                                                 include the experts fees of Wye Oak

                                                           B-1
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                                               ANNEX B TO COMPLAINT

                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                  (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and         Sending Party*/                                                                             (if any)
   Date of
Communication
                                                                Company within the invoices that
                                                                Iraqi side have to bear it.

                                                                Thank you for your cooperation.”
¶ 21.C             TO:                    MLG Invoice           Subject: Mills Law Group – Wye Oak       From MLG presentment
7 Dec 2019         MinJus                 Group E-1             Matter: Submission of Corrected          of MLG Invoice Group
                   MoJ                                          Invoices and Additional Invoice,         E-1 to MoJ through the
                                                                Supporting Expense Documentation         Present (“as of” date
                   FM:                                                                                   stated above in title of
                   MLG                                          “We are pleased to submit the            this Table), no
                                                                requested documentation evidencing       communication made to
                                                                our the expenses incurred on behalf of   MLG by: (i) MoJ; or (ii)
                                                                the Republic of Iraq and the Ministry    any other official, office
                                                                of Defense in our defense of the U.S.    or entity of the
                                                                Wye Oak litigation, which we have        Government of Iraq,
                                                                invoiced on Mills Law Group Invoice      objecting to or
                                                                Nos.: (1) 19-1009-01 (corrected by       contesting any invoice

                                                          B-2
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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                            (4)                                (5)
  Complaint       Addressees and      Pertinent Invoices          Subject/Communication                    Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                            Invoice No. 19-1009-01C, attached);     included in MLG
                                                            (2) 19-1009-02 (corrected by Invoice    Invoice Group E-1,
                                                            No. 19-1009-02C, attached); (3) 19-     including:
                                                            1009-03 (corrected by Invoice No. 19-   (1) no questions;
                                                            1009-03C, attached); and (4) 19-1203-   (2) no objections;
                                                            01, attached.                           (3) no exceptions; and
                                                                                                    (4) no disputes
                                                            During the review process, we found     whatsoever
                                                            that certain errors were made in
                                                            Invoices 19-1009-01, 19-1009-02 and
                                                            19-1009-03, resulting in
                                                            understatement of our expenses. We
                                                            have provided a detailed explanation
                                                            of each correction in the notes
                                                            accompanying this submission
                                                            (immediately below).


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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                              (4)                        (5)
  Complaint       Addressees and      Pertinent Invoices            Subject/Communication            Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                            The total corrected expense invoice
                                                            balance of $266,690.14 is due. We
                                                            respectfully urge that payment be
                                                            made within the next 10 business days
                                                            – that is, by not later than 16
                                                            December 2019.

                                                            *   *    *

                                                            You have asked for explanation of the
                                                            reason why Defendants Iraq and MoD
                                                            were required to pay the fees of Wye
                                                            Oak’s experts that Defendants
                                                            deposed.

                                                            The Federal Rules of Civil Procedure
                                                            and case law thereunder require that a

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                            (4)                             (5)
  Complaint       Addressees and      Pertinent Invoices          Subject/Communication                 Response
 Sub¶ No. and     Sending Party*/                                                                        (if any)
   Date of
Communication
                                                            litigant party who deposes the expert
                                                            of the other side is obligated to pay the
                                                            reasonable fees of the expert incurred
                                                            by the expert in preparing to testify at
                                                            deposition and for the time being
                                                            examined during the deposition.

                                                            The payments to Wye Oak’s experts
                                                            included on our invoices reflect
                                                            Defendants’ Iraq and MoD’s
                                                            fulfillment of this legal obligation.”

                                                            ATTACHMENTS

                                                            Memorandum (pdf)




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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                            (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices          Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                      (if any)
   Date of
Communication
                                                            1A. Corrected Invoice 19-1009-
                                                            01C (corrected to accurately reflect
                                                            total expenses of $153,373.35 instead
                                                            of the inaccurate total of $141,680.35)
                                                            1B.     Expense documentation

                                                            2A. Corrected Invoice 19-1009-
                                                            02C (invoice balance due corrected
                                                            from inaccurately stated $9,162.52 to
                                                            $17,482.18)
                                                            2B.    Expense documentation

                                                            3A. Corrected Invoice 19-1009-
                                                            03C (correction of understatement of
                                                            $6,498.46 in incurred expenses;
                                                            invoice total corrected from erroneous
                                                            $233,542.78 to $240,041.24)

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                            (4)                          (5)
  Complaint       Addressees and      Pertinent Invoices          Subject/Communication              Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                            3B.    Expense documentation

                                                            4A.      Invoice 19-1203-01
                                                            ($5,793.37 in additional Wye Oak
                                                            litigation expenses incurred between
                                                            17 Dec 2018 and 25 July 2019)
                                                            4B.      Expense documentation

                                                            Corrected invoices
                                                            19-1009-01C
                                                            19-1009-02C
                                                            19-1009-3C
                                                            19-1203-01
                                                            Grand total: $266,690.14




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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

       (1)            (2)                    (3)                            (4)                                 (5)
   Complaint    Addressees and        Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and   Sending Party*/                                                                              (if any)
     Date of
Communication
¶ 21.D        TO:                     MLG Invoice           MLG email presentment of MLG            From MLG presentment
19 Dec 2019   MoJ                     constituting MLG      Invoice Group E-2 invoice for Wye       of MLG Invoice Group
                                      Invoice Group E-2     Oak incurred litigation expenses paid   E-2 to MoJ through the
               FM:                    **/                   by Mills Law Group on behalf of Iraq    Present (“as of” date
               MLG                                          during period of October 2019-          stated above in title of
                                                            December 2019, totaling $3,791.40.      this Table), no
                                                                                                    communication made to
                                                                                                    MLG by: (i) MoJ; or (ii)
                                                                                                    any other official, office
                                                                                                    or entity of the
                                                                                                    Government of Iraq,
                                                                                                    objecting to or
                                                                                                    contesting any invoice
                                                                                                    included in MLG
                                                                                                    Invoice Group E-1,
                                                                                                    including:
                                                                                                    (1) no questions;

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                                            ANNEX B TO COMPLAINT

                     Chronological History of Mills Law Group-Iraq Communications Relevant to
          Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                        Iraq Communications with respect to:
                               (1) All Presented Invoices and Payment Demands, and
                                   (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                 (2)                  (3)                               (4)                                (5)
  Complaint        Addressees and      Pertinent Invoices             Subject/Communication                    Response
 Sub¶ No. and      Sending Party*/                                                                              (if any)
   Date of
Communication
                                                                                                       (2) no objections;
                                                                                                       (3) no exceptions; and
                                                                                                       (4) no disputes
                                                                                                       whatsoever
¶ 21.E           TO:                   MLG Invoices              MLG email presentment of MLG          From MLG presentment
22-28 Dec 2019   MoJ                   constituting MLG          Invoice Group F-1 invoices for Wye    of MLG Invoice Group
                                       Invoice Group F-1         Oak incurred litigation fees during   F-1 to MoJ through the
                 FM:                   **/                       period of 5 March 2018-25 November    Present (“as of” date
                 MLG                                             2019 totaling $3,073,150.50.          stated above in title of
                                                                                                       this Table), no
                                                                                                       communication made to
                                                                                                       MLG by: (i) MoJ; or (ii)
                                                                                                       any other official, office
                                                                                                       or entity of the
                                                                                                       Government of Iraq,
                                                                                                       objecting to or
                                                                                                       contesting any invoice

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                                              ANNEX B TO COMPLAINT

                       Chronological History of Mills Law Group-Iraq Communications Relevant to
            Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                          Iraq Communications with respect to:
                                 (1) All Presented Invoices and Payment Demands, and
                                     (2) Iraq Failure to Object to Presented Invoices

                                                (as of 30 September 2022)

     (1)                    (2)                 (3)                            (4)                                 (5)
  Complaint           Addressees and     Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and         Sending Party*/                                                                           (if any)
   Date of
Communication
                                                                                                      included in MLG
                                                                                                      Invoice Group E-1,
                                                                                                      including:
                                                                                                      (1) no questions;
                                                                                                      (2) no objections;
                                                                                                      (3) no exceptions; and
                                                                                                      (4) no disputes
                                                                                                      whatsoever
¶ 21.F              TO:                  MLG Invoice           Subject: Wye Oak Case -Payment         From MLG presentment
7 Mar 2020          MinJus               Groups E-1, E-2,      Inquiry and Demand for Cure: MoJ       of MLG Invoice Group
[recorded by        MoJ                  F-1                   Delinquency in Payment of Past Due     E-1, E-2 and F-1 to MoJ
MoJ as received                                                Mills Law Group Invoices (Expenses     through the Present (“as
on 8 Mar 2020       FM:                                        & Fees)                                of” date stated above in
owing to time       MLG                                                                               title of this Table), no
zone differences]                                              We urgently request that you advise us communication made to
                                                               immediately of the payment status      MLG by: (i) MoJ; or (ii)
                                                               regarding our outstanding Wye Oak      any other official, office

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                 (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           litigation expense and fees invoices--   or entity of the
                                                           which are seriously delinquent, and      Government of Iraq,
                                                           cure the delinquency by confirming       objecting to or
                                                           payment at once.                         contesting any invoice
                                                                                                    included in MLG
                                                           MoJ has not advised us of the            Invoice Group E-1,
                                                           status. We therefore request that MoJ    including:
                                                           do so by not later than Monday, 8        (1) no questions;
                                                           March 2020.                              (2) no objections;
                                                                                                    (3) no exceptions; and
                                                           We note the following to you:            (4) no disputes
                                                                                                    whatsoever
                                                           Mills Law Group submitted out
                                                           expense invoices more than 5 months
                                                           ago, totaling $270,481.54. This is
                                                           money that we advanced out of our
                                                           own pockets on behalf of Iraq and

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           Ministry of Defense on the strength of
                                                           contractual commitments that we will
                                                           be paid within 60 days of presentation
                                                           of invoices. MoJ has not made any
                                                           payment, nor made any commitment
                                                           to pay.

                                                           Mills Law Group submitted our fee
                                                           invoices to the Ministry in December
                                                           2019, totaling $3,073,150.50 – more
                                                           than 2 full months ago. MoJ’s
                                                           payment of these fee invoices also is
                                                           seriously past due and now
                                                           delinquent. Again, MoJ has not made
                                                           any payment, nor made any
                                                           commitment to pay.
                                                           .

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                                               ANNEX B TO COMPLAINT

                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                  (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and         Sending Party*/                                                                             (if any)
   Date of
Communication
                                                                We look forward to receiving the
                                                                Ministry’s response – including Your
                                                                Excellency’s written confirmation that
                                                                the Ministry will pay all of our
                                                                outstanding invoices forthwith – by
                                                                this coming Monday, 9 March 2020.
¶ 21.G             MinJus                 MLG Invoice           Subject: TOP URGENT ACTION               From MLG presentment
1 May 2020         MoJ                    Groups E-1, E-2,      REQUESTED BY THE MINISTER                of MLG Invoice Group
                   LA                     F-1                   OF JUSTICE, OFFICE OF THE                E-1, E-2 and F-1 to MoJ
                   AMB                                          PRIME MINISTER: Wye Oak Case --          through the Present (“as
                                                                Payment of $3,395,018.39 in Gravely      of” date stated above in
                   FM:                                          Delinquent Mills Law Group Invoices      title of this Table), no
                   MLG                                          by not later than Monday, 11 May         communication made to
                                                                2020                                     MLG by: (i) MoJ; or (ii)
                                                                                                         any other official, office
                                                                “First, we wish and pray that you,       or entity of the
                                                                your families and loved ones are         Government of Iraq,

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and     Sending Party*/                                                                          (if any)
   Date of
Communication
                                                           healthy, and especially that all will   objecting to or
                                                           remain free of COVID-19 illness.        contesting any invoice
                                                                                                   included in MLG
                                                           Second, We write to ask that His        Invoice Group E-1,
                                                           Excellency the Minister of Justice      including:
                                                           Farooq Amin Shawni, the Legal           (1) no questions;
                                                           Consultation Bureau and the Office      (2) no objections;
                                                           of the Prime Minister immediately       (3) no exceptions; and
                                                           take all actions necessary to cause     (4) no disputes
                                                           immediate payment to be made by         whatsoever
                                                           Iraq the gravely delinquent Mills
                                                           Law Group invoices for expenses
                                                           and fees (referenced above) and for
                                                           expeditious payment to be made of
                                                           our attached expense invoice 2020-
                                                           0430-001 for translation fees and
                                                           legal research costs.

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication

                                                           All of us here (that is, Mills Law
                                                           Group and its supporting co-counsel
                                                           of the law firm DiMuro Ginsberg,
                                                           P.C., as well as the supporting
                                                           English-language translators from
                                                           Ms. Ghada Attieh’s small business
                                                           translation firm Beyond Words LLC)
                                                           are being gravely financially harmed
                                                           and affected by Iraq’s egregious
                                                           failure to pay our invoices in
                                                           accordance with the Mills Law Group-
                                                           Ministry of Justice Engagement
                                                           Agreement (which provides that Iraq
                                                           will pay our invoices by not later than
                                                           60 days after presentment).


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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           We therefore most urgently ask
                                                           that:

                                                           1. Each of you confirm receipt of
                                                           this correspondence;

                                                           2. As a matter of top urgency, HE
                                                           Minister of Justice and the Office of
                                                           the Prime Minister, up to and
                                                           including HE the Prime Minister,
                                                           immediately take all actions
                                                           necessary to pay our invoices
                                                           forthwith, such that invoice
                                                           payments reach us by not later than
                                                           Monday, 11 May 2020; and




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                     Chronological History of Mills Law Group-Iraq Communications Relevant to
          Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                        Iraq Communications with respect to:
                               (1) All Presented Invoices and Payment Demands, and
                                   (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                 (2)                  (3)                            (4)                                  (5)
  Complaint        Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and      Sending Party*/                                                                             (if any)
   Date of
Communication
                                                             3. HE the Minister of Justice and
                                                             the Office of the Prime Minister
                                                             report to us, by reply email, the
                                                             urgent actions that are being taken
                                                             to ensure that we will be paid by not
                                                             later than Monday, 11 May 2020.”

                                                             (Emphasis in original.)
¶ 21.H          TO:                    MLG Invoice           Subject: Re Wye Oak Case                 From MLG presentment
12 May 2020     MLG                    Groups E-1, E-2,                                               of MLG Invoice Group
                                       F-1                   “Reference to your email dated on 8th    E-1, E-2 and F-1 to MoJ
                FM:                                          March 2020                               through the Present (“as
                MoJ                                                                                   of” date stated above in
                                                             I would like to inform you that , your   title of this Table), no
                                                             fees has been presented before the       communication made to
                                                             high authorities and I will inform you   MLG by: (i) MoJ; or (ii)
                                                             about their instruction later.”          any other official, office

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                      Chronological History of Mills Law Group-Iraq Communications Relevant to
           Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                         Iraq Communications with respect to:
                                (1) All Presented Invoices and Payment Demands, and
                                    (2) Iraq Failure to Object to Presented Invoices

                                               (as of 30 September 2022)

     (1)                  (2)                  (3)                          (4)                            (5)
  Complaint         Addressees and      Pertinent Invoices        Subject/Communication                Response
 Sub¶ No. and       Sending Party*/                                                                     (if any)
   Date of
Communication
                                                                                                or entity of the
                                                                                                Government of Iraq,
                                                                                                objecting to or
                                                                                                contesting any invoice
                                                                                                included in MLG
                                                                                                Invoice Group E-1,
                                                                                                including:
                                                                                                (1) no questions;
                                                                                                (2) no objections;
                                                                                                (3) no exceptions; and
                                                                                                (4) no disputes
                                                                                                whatsoever
¶ 21.I           TO:                    MLG Invoice           Subject: VERY TIMELY ACTION       From MLG presentment
14 June 2020     MinJus                 Groups E-1, E-2,      REQUIRED:                         of MLG Invoice Group
                 MoJ                    F-1                                                     E-1, E-2 and F-1 to MoJ
                 LA                                                                             through the Present (“as
                 AMB                                                                            of” date stated above in

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                            (if any)
   Date of
Communication
                                                           . . . (3) Necessity to Receive Payment   title of this Table), no
                FM:                                        Now of Delinquent Mills Law Group        communication made to
                MLG                                        Wye Oak Invoices: $3,395,018.39          MLG by: (i) MoJ; or (ii)
                                                           >> Wye Oak Litigation Expenses           any other official, office
                                                           (Advanced in Cash by Mills Law           or entity of the
                                                           Group): $272,192.89                      Government of Iraq,
                                                           >> Fees (March 2018-November             objecting to or
                                                           2019): $3,122,825.50                     contesting any invoice
                                                                                                    included in MLG
                                                           “We previously communicated with         Invoice Group E-1,
                                                           His Excellency the Minister of Justice including:
                                                           and the Office of the Prime Minister     (1) no questions;
                                                           during the Abdul Mahdi government        (2) no objections;
                                                           concerning this grave delinquency and (3) no exceptions; and
                                                           the grave damage Iraq’s delinquency      (4) no disputes
                                                           is doing to our law firm and that of our whatsoever


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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           co-counsel in the Wye Oak case
                                                           (DiMuro Ginsberg P.C.).

                                                           As yet, we have not been paid
                                                           anything.

                                                           We have continued to faithfully stand
                                                           shoulder-to-shoulder with Iraq and
                                                           MoD.

                                                           We must receive payment
                                                           now. Please take all steps necessary
                                                           to immediately remit $500,000
                                                           within the next several days and the
                                                           balance within 2 weeks (by 28 June
                                                           2020).


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                      Chronological History of Mills Law Group-Iraq Communications Relevant to
           Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                         Iraq Communications with respect to:
                                (1) All Presented Invoices and Payment Demands, and
                                    (2) Iraq Failure to Object to Presented Invoices

                                               (as of 30 September 2022)

     (1)                  (2)                  (3)                            (4)                                  (5)
  Complaint         Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and       Sending Party*/                                                                             (if any)
   Date of
Communication
                                                              Please confirm to us at once, by reply
                                                              email, that you are doing so.”

                                                              (Emphasis in original.)
¶ 21.J           TO:                    MLG Invoice           Subject: URGENT ACTION                   From MLG presentment
27 June 2020     MoJ                    Groups E-1, E-2,      REQUIRED (SECOND                         of MLG Invoice Group
                 SA                     F-1                   REQUEST): Wye Oak Litigation:            E-1, E-2 and F-1 to MoJ
                 AMB                                          Defendants’ Iraq and MoD                 through the Present (“as
                                                              Forthcoming Opposition to Wye            of” date stated above in
                 FM:                                          Oak Attorneys Fees Application: . . .    title of this Table), no
                 MLG                                          (2) Payment Now of Delinquent            communication made to
                                                              Invoices ($3,395,018.39)                 MLG by: (i) MoJ; or (ii)
                                                                                                       any other official, office
                                                              “Please confirm by reply email that      or entity of the
                                                              you have received this email in good     Government of Iraq,
                                                              order and that you are taking all        objecting to or
                                                              actions necessary to cause the funds     contesting any invoice

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                               (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication                   Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           mentioned herein to be remitted to us    included in MLG
                                                           forthwith.                               Invoice Group E-1,
                                                                                                    including:
                                                           We write to most strongly request that   (1) no questions;
                                                           Iraq to immediately remit to us, as a    (2) no objections;
                                                           matter of utmost urgency:                (3) no exceptions; and
                                                                                                    (4) no disputes
                                                           *   *    *                               whatsoever

                                                           2. Payment by Iraq to this Law
                                                           Firm Now of the Gravely
                                                           Delinquent Unpaid Mills Law
                                                           Group Invoice Balance of
                                                           $3,395,018.39:
                                                           >>Wye Oak Litigation Expenses
                                                           (Advanced in Cash by Mills Law
                                                           Group): $272,192.89;

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           >>Fees (March 2018-November
                                                           2019): $3,122,825.50

                                                           We reported to you in our 14 June
                                                           2020 email that: “We previously
                                                           communicated with His Excellency
                                                           the Minister of Justice and the Office
                                                           of the Prime Minister during the
                                                           Abdul Mahdi government concerning
                                                           this grave delinquency and the grave
                                                           damage Iraq’s delinquency is doing to
                                                           our law firm and that of our co-
                                                           counsel in the Wye Oak case (DiMuro
                                                           Ginsberg P.C.). As yet, we have not
                                                           been paid anything.”




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                                                ANNEX B TO COMPLAINT

                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                     (2)                  (3)                              (4)                              (5)
  Complaint            Addressees and      Pertinent Invoices            Subject/Communication                  Response
 Sub¶ No. and          Sending Party*/                                                                           (if any)
   Date of
Communication
                                                                 We also have not received any reply
                                                                 concerning this matter either. It is
                                                                 essential for us to receive a partial
                                                                 payment of approximately one half
                                                                 of this amount within the next 10
                                                                 calendar days, and payment in full
                                                                 within the next 21 calendar days.

                                                                 *   *    *

                                                                 We look forward to receiving your
                                                                 confirmation that the funds will be
                                                                 remitted as a matter of urgency.”

                                                                 (Emphasis in original.)
¶ 21.K              TO:                    MLG Invoice           Demand for “Payment Now of              MoJ email of 19 July
9 July 2020         MinJus; LA; MoJ        Groups E-1, E-2,      Delinquent Invoices ($3,395,018.39)”:   2020 (¶ 21.K, infra)

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                                            ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                     (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                         Response
 Sub¶ No. and     Sending Party*/                                                                               (if any)
   Date of
Communication
                CC: (Info):           F-1
                Ambassador                                 “We now write again, for the third          From MLG presentment
                                                           time within the last 24 days, as a          of MLG Invoice Group
                FM: MLG                                    matter of utmost top urgency, to warn,      E-1, E-2 and F-1 to MoJ
                                                           without any exaggeration whatsoever,        through the Present (“as
                                                           that very grave harm will come to           of” date stated above in
                                                           Iraq in the Wye Oak litigation – in the     title of this Table), no
                                                           form of an additional judgment for          communication made to
                                                           attorneys fees in the range of up to        MLG by: (i) MoJ; or (ii)
                                                           $50 million (fifty-million dollars) – if    any other official, office
                                                           the Ministry of Justice and Iraq fails to   or entity of the
                                                           immediately transfer to us:                 Government of Iraq,
                                                                                                       objecting to or
                                                           * * *                                       contesting any invoice
                                                           Payment of $3,395,018.39 – which is         included in MLG
                                                           the entirety of the Mills Law Group         Invoice Group E-1,
                                                           invoices for Wye Oak fees and               including:

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                      Chronological History of Mills Law Group-Iraq Communications Relevant to
           Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                         Iraq Communications with respect to:
                                (1) All Presented Invoices and Payment Demands, and
                                    (2) Iraq Failure to Object to Presented Invoices

                                               (as of 30 September 2022)

     (1)                  (2)                  (3)                              (4)                                (5)
  Complaint         Addressees and      Pertinent Invoices            Subject/Communication                    Response
 Sub¶ No. and       Sending Party*/                                                                             (if any)
   Date of
Communication
                                                              expenses. The $3,395,018.39 is           (1) no questions;
                                                              gravely delinquent. Under the terms of   (2) no objections;
                                                              our engagement agreement with the        (3) no exceptions; and
                                                              Ministry of Justice, payment was due     (4) no disputes
                                                              should have been made an                 whatsoever
                                                              exceptionally long time ago.”

                                                              (Emphasis in original.)
¶ 21.L           TO:                    MLG Invoice           Subject: Re: . . . UTMOST URGENT         From MLG presentment
19 July 2020     MLG                    Groups E-1, E-2,      ACTION STILL NEEDED TO                   of MLG Invoice Group
                                        F-1                   AVOID VERY GRAVE HARM TO                 E-1, E-2 and F-1 to MoJ
                 FM:                                          IRAQ: . . . (2) Payment Now of           through the Present (“as
                 MoJ                                          Delinquent Invoices ($3,395,018.39);     of” date stated above in
                                                              (3) Retainer Funds                       title of this Table), no
                 CC:                                                                                   communication made to
                 MinJus                                       *   *    *                               MLG by: (i) MoJ; or (ii)
                 LA                                                                                    any other official, office

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                      Chronological History of Mills Law Group-Iraq Communications Relevant to
           Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                         Iraq Communications with respect to:
                                (1) All Presented Invoices and Payment Demands, and
                                    (2) Iraq Failure to Object to Presented Invoices

                                               (as of 30 September 2022)

     (1)                  (2)                  (3)                            (4)                                  (5)
  Complaint         Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and       Sending Party*/                                                                             (if any)
   Date of
Communication
                 AMB                                          “With respect to your fees, a             or entity of the
                                                              committee has been set up to review       Government of Iraq,
                                                              the fees. As you can imagine, the fees    objecting to or
                                                              are very high and the relevant existing   contesting any invoice
                                                              teams do not have the authority to        included in MLG
                                                              approve the payments. We will revert      Invoice Group E-1,
                                                              to you shortly.”                          including:
                                                                                                        (1) no questions;
                                                                                                        (2) no objections;
                                                                                                        (3) no exceptions; and
                                                                                                        (4) no disputes
                                                                                                        whatsoever
¶ 21.M           TO:                    MLG Invoice           --Immediate Cure of Delinquent            From MLG presentment
27 July 2020     MinJus; LA; MoJ        Groups E-1, E-2,      Invoices ($3,395,018.39); and             of MLG Invoice Group
                 CC: (Info):            F-1                   --Immediate Retainer Remittance           E-1, E-2 and F-1 to MoJ
                 Ambassador                                   ($150K) for Continuing Legal              through the Present (“as
                                                              Services:                                 of” date stated above in

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                                    (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication                        Response
 Sub¶ No. and     Sending Party*/                                                                                (if any)
   Date of
Communication
                FM: MLG                                                                                 title of this Table), no
                                                           “On 19 July 2020 we received MoJ             communication made to
                                                           Legal Department Director General            MLG by: (i) MoJ; or (ii)
                                                           Hanan Nisaef’s response to the urgent        any other official, office
                                                           need for Iraq and MoD to immediately         or entity of the
                                                           remit to us: . . . (2) full payment of the   Government of Iraq,
                                                           $3,395,018.39 owing on our Wye Oak           objecting to or
                                                           expense and legal fees invoices –            contesting any invoice
                                                           which is egregiously delinquent and          included in MLG
                                                           must be paid now to enable us to             Invoice Group E-1,
                                                           continue to defend Iraq and MoD in           including:
                                                           the Wye Oak litigation; and (3) full         (1) no questions;
                                                           payment of the $150,000 retainer that        (2) no objections;
                                                           has been due and owing since 2019,           (3) no exceptions; and
                                                           and also is egregiously delinquent.          (4) no disputes
                                                                                                        whatsoever
                                                           *   *    *

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication

                                                           To avoid grave harm to the interests
                                                           of Iraq and MoD, Iraq must make
                                                           these payments at once.

                                                           We have repeatedly emphasized in our
                                                           communications to each of you (Your
                                                           Excellencies, Prime Minister Legal
                                                           Advisor Salem Chalabi and MoJ Legal
                                                           Department DG Hanan Nisaef) that
                                                           grave harm will result to Defendants
                                                           Republic of Iraq (“Iraq”) and Ministry
                                                           of Defense (“MoD”) in the Wye Oak
                                                           litigation – particular as to Wye Oak’s
                                                           attorneys fee claim of $31.638,358.19
                                                           – if Iraq does not remit these monies
                                                           to us immediately.”

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                     Chronological History of Mills Law Group-Iraq Communications Relevant to
          Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                        Iraq Communications with respect to:
                               (1) All Presented Invoices and Payment Demands, and
                                   (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                 (2)                  (3)                            (4)                               (5)
  Complaint        Addressees and      Pertinent Invoices          Subject/Communication                   Response
 Sub¶ No. and      Sending Party*/                                                                          (if any)
   Date of
Communication

                                                             (Emphasis in original)
¶ 21.N          TO:                    MLG Invoice           Follow-up to 27 July 2020 demand forFrom MLG presentment
15 Aug 2020     MinJus                 Groups E-1, E-2,      payment of invoices for $272,192.89 of MLG Invoice Group
                Moj                    F-1                   in litigation expenses and          E-1, E-2 and F-1 to MoJ
                                                             $3,122,825.50 in Wye Oak litigation through the Present (“as
                FM: MLG                                      fees                                of” date stated above in
                                                                                                 title of this Table), no
                                                             “On 27 July 2020, we wrote to you   communication made to
                                                             again (having also written to you   MLG by: (i) MoJ; or (ii)
                                                             numerous times before) urging Your  any other official, office
                                                             Excellency to take top urgent       or entity of the
                                                             immediate action to provide us with Government of Iraq,
                                                             resources we need to avoid grave    objecting to or
                                                             harm to Iraq and MoD in the Wye Oak contesting any invoice
                                                             litigation by defending against the included in MLG
                                                             Wye Oak attorneys fees claims of

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                            (if any)
   Date of
Communication
                                                           $31,638,358.19 and to conduct the         Invoice Group E-1,
                                                           appeal of the trial court judgment of     including:
                                                           $120,742,030.78. Specifically, we         (1) no questions;
                                                           informed you that these resources         (2) no objections;
                                                           must be provided immediately, or else,    (3) no exceptions; and
                                                           as a matter of professional               (4) no disputes
                                                           responsibility, we will be compelled to   whatsoever
                                                           withdraw from representing Iraq and
                                                           MoD in the litigation:

                                                           * * *
                                                           (b) Payment of our long-delinquent
                                                           outstanding invoices for Wye Oak
                                                           litigation expenses of $272,192.89 that
                                                           we advanced out of our own pocket;
                                                           (c) Payment of our long-delinquent
                                                           outstanding invoices for Wye Oak

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                         (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication             Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           litigation fees totaling $3,122,825.50
                                                           for professional services delivered in
                                                           the Wye Oak litigation from March
                                                           2018 through November 2019 . . ..”

                                                                   (c)      Depositing into our
                                                                   client trust account retainer
                                                                   money in a minimum amount
                                                                   of $150,000 to cover
                                                                   professional fees and expenses
                                                                   to defend Iraq on a going
                                                                   forward basis

                                                           We did not receive any response
                                                           whatsoever.

                                                           *   *    *

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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                  (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and         Sending Party*/                                                                             (if any)
   Date of
Communication
                                                                You must write to us today with a
                                                                commitment to take all actions
                                                                necessary to pay these funds, and
                                                                must pay all of these funds by
                                                                Thursday, 20 August 2020 (four
                                                                banking days from today).”

                                                                (Emphasis [italicization and bolding]
                                                                in original.)

¶ 21.O             TO: MLG                MLG Invoice           Subject: Iraq Transfer of Lead             From MLG presentment
2 Sep 2020         CC: AMB                Groups E-1, E-2,      Counsel Responsibilities from Mills        of MLG Invoice Group
                       LA                 F-1                   Law Group to Cleary Gottleib               E-1, E-2 and F-1 to MoJ
                                                                                                           through the Present (“as
                   FROM: MoJ                                    “. . .[T]he Ministry of Justice is         of” date stated above in
                                                                writing to you to inform you that, in      title of this Table), no
                                                                light of the current situation relating to communication made to

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                   (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                       Response
 Sub¶ No. and     Sending Party*/                                                                             (if any)
   Date of
Communication
                                                           the Wye Oak appeal and related            MLG by: (i) MoJ; or (ii)
                                                           matters, it has decided to appoint        any other official, office
                                                           Cleary Gottlieb Steen & Hamilton as       or entity of the
                                                           the firm to direct the appeal and other   Government of Iraq,
                                                           related matters, with you and your        objecting to or
                                                           colleagues to act in a supporting         contesting any invoice
                                                           manner. One of the reasons is that the    included in MLG
                                                           Ministry is trying to work out a          Invoice Group E-1,
                                                           reasonable fee structure in light of      including:
                                                           your recent invoices and does not         (1) no questions;
                                                           want you to incur any additional          (2) no objections;
                                                           exposure. We ask that you please          (3) no exceptions; and
                                                           advise us what your estimate to act to    (4) no disputes
                                                           support Cleary Gottlieb would be, so      whatsoever
                                                           that a firm and detailed engagement
                                                           letter would be executed with you and


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         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           your colleagues (in which a repayment
                                                           schedule is entered into).


                                                           In light of the above, please urgently
                                                           coordinate with Andy Bernstein
                                                           (abernstein@cgsh.com) with respect
                                                           to the requirements needed to inform
                                                           the court accordingly.

                                                           With respect to the fees issue, the
                                                           team is working with the auditing
                                                           authorities to complete the audit. As
                                                           you know, the amount is significant
                                                           and the fees relate to a long period.”




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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

       (1)             (2)                   (3)                            (4)                                (5)
   Complaint     Addressees and       Pertinent Invoices          Subject/Communication                    Response
 Sub¶ No. and    Sending Party*/                                                                            (if any)
     Date of
Communication
¶ 21.P        MinJus                  MLG Invoice           SUB:        Mills Law Group            From MLG presentment
15 Oct 2020   MoJ                     Groups E-1, E-2,      Gravely Delinquent Wye Oak             of MLG Invoice Group
              LA                      F-1                   Invoices:                              E-1, E-2 and F-1 to MoJ
                                                            (1) Request for Immediate Status       through the Present (“as
                                                            Report re Delinquent Approval Action   of” date stated above in
                                                            by Higher Authority;                   title of this Table), no
                                                            (2) Continued Demand for Payment:      communication made to
                                                            Litigation Expenses (Advanced in       MLG by: (i) MoJ; or (ii)
                                                            Cash by Mills Law Group):              any other official, office
                                                            $ 272,192.89                           or entity of the
                                                            Fees (March 2018-November 2019):       Government of Iraq,
                                                            $3,122,825.50                          objecting to or
                                                            Total: $3,395, 018.39                  contesting any invoice
                                                                                                   included in MLG
                                                            We write to: (1) request your          Invoice Group E-1,
                                                            immediate report on the status of      including:
                                                            the Higher Authority’s action to       (1) no questions;

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                               (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                   Response
 Sub¶ No. and     Sending Party*/                                                                         (if any)
   Date of
Communication
                                                           approve payment of the above-          (2) no objections;
                                                           referenced gravely delinquent Mills    (3) no exceptions; and
                                                           Law Group Wye Oak invoices; and        (4) no disputes
                                                           (2) demand Iraq’s forthwith            whatsoever
                                                           approval and payment of the
                                                           entirety of the above-referenced
                                                           invoices.

                                                           Despite our numerous requests for
                                                           approval and demand for payment
                                                           that we have made since January
                                                           2020, not one cent have been paid,
                                                           and we have been kept largely in the
                                                           dark. We must be informed at once
                                                           of: (1) the status of approval for
                                                           payment of each of our invoices;
                                                           and (2) exactly when MoJ will pay

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           each of our invoices. We also must
                                                           receive payment forthwith – and in
                                                           any event by not later than Monday,
                                                           21 December 2020.

                                                           After our numerous demands, finally
                                                           on 2 September 2020, MoJ Legal
                                                           Department DG Hanan Nisaef
                                                           reported to us that “the [unspecified]
                                                           team is working with the auditing
                                                           authorities to complete the audit.”
                                                           However:

                                                           1. As to our incurred cost invoices
                                                           ($272,192.89), between October-
                                                           November 2019, DG Hanan Nisaef
                                                           made several requests to us for

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           supporting documentation and answer
                                                           to questions about the expenses –
                                                           which we fully responded to – because
                                                           our incurred cost invoices were being
                                                           audited by MoJ at that time. We
                                                           satisfactorily addressed and resolved
                                                           all questions MoJ asked. MoJ
                                                           concluded the audit of our incurred
                                                           cost invoices, and then failed to take
                                                           the actions required of MoJ under the
                                                           MoJ-Mills Law Group engagement
                                                           agreement to approve and pay our
                                                           incurred cost invoices. MoJ should
                                                           have paid in full the $272,192.89 by
                                                           the end of January 2020, at the very
                                                           latest. See also, further discussion at
                                                           paragraph A, below;

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication

                                                           and

                                                           2. We now understand that beginning
                                                           in late December 2019 and continuing
                                                           until most recently, MoJ effectively
                                                           “sat” on all of our invoices for
                                                           months, without taking any of the
                                                           customary actions (including timely
                                                           commencing and conducting audit of
                                                           the invoices).

                                                           It is this failure of MoJ to timely act
                                                           on our invoices – to audit and pay our
                                                           invoices within 60 days of
                                                           presentment, as required by the MoJ-
                                                           Mills Law Group Engagement

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           Agreement, that has caused the breach
                                                           of payment obligations. See also
                                                           discussion at paragraph B, below.

                                                           If MoJ had acted on its contractual
                                                           obligations to us, all of our invoices
                                                           would have been approved and paid
                                                           by not later than early March 2020.

                                                           We have fully and faithfully served
                                                           Iraq and MoD, to our great
                                                           financial detriment because the
                                                           Ministry of Justice (MoJ) has
                                                           gravely breached its payment
                                                           obligations. We expect and demand
                                                           that our faithfulness to Iraq and
                                                           MoD be reciprocated now by MoJ

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                              (4)                        (5)
  Complaint       Addressees and      Pertinent Invoices            Subject/Communication            Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           curing its egregious breach of
                                                           payment obligations by at once
                                                           taking all necessary actions to
                                                           approve and pay the $3,395,018.39.

                                                           -*   *     *

                                                                 B.     Fee Invoices
                                                           ($3,122,825.50): In late December
                                                           2019 (almost 10 months ago), Mills
                                                           Law Group completed submitting its
                                                           fee invoices covering March 2018-
                                                           November 2019) to MoJ. At the time
                                                           of submission, MoJ had funds on
                                                           account to pay these invoices. The
                                                           MoJ-Mills Law Group engagement
                                                           agreement includes a payment clause

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                            (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                Response
 Sub¶ No. and     Sending Party*/                                                                      (if any)
   Date of
Communication
                                                           (which MoJ negotiated) that required
                                                           MoJ to pay our invoices within 60
                                                           days of presentment, without
                                                           exception. MoJ did not take action to
                                                           audit and approve payment of any of
                                                           these invoices within the obligatory
                                                           60-day period. If MoJ had done so
                                                           within 60 days as to any of the fee
                                                           invoices, MoJ would have paid at least
                                                           some (if not all) of these invoices with
                                                           then-currently available funds. MoJ’s
                                                           failure to do so caused the period of
                                                           non-payment to extend into the period
                                                           of the global collapse of oil prices
                                                           attributable to the novel coronavirus
                                                           pandemic, and the Government of
                                                           Iraq’s current financial crisis.

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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                 (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and         Sending Party*/                                                                            (if any)
   Date of
Communication

                                                                We look forward to receiving your
                                                                immediate confirmation of receipt of
                                                                this communication, and Iraq’s
                                                                confirmation of: (1) approval of each
                                                                of our invoices; and (2) payment of
                                                                each of our invoices by not later than
                                                                Monday, 21 December 2020.”

                                                                (Emphasis in original.)
¶ 21.Q             TO:                    MLG Invoice           SUB: Wye Oak Matter – Mills              From MLG presentment
9 Dec 2020         MinJus                 Groups E-1, E-2,      Law Group LLP:                           of MLG Invoice Group
                   MoJ                    F-1                   (1) Gravely Delinquent Invoices          E-1, E-2 and F-1 to MoJ
                                                                ($3,395,018.39): Demand for              through the Present (“as
                   FM: MLG                                      Immediate Payment in Full with No        of” date stated above in
                                                                Further Delay;                           title of this Table), no
                                                                                                         communication made to

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                 (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           (2) Advisement of Forthcoming           MLG by: (i) MoJ; or (ii)
                                                           Present of Invoices Covering            any other official, office
                                                           December 2019-November 2020             or entity of the
                                                                                                   Government of Iraq,
                                                           “The time has come for the Ministry     objecting to or
                                                           of Justice to immediately pay in full   contesting any invoice
                                                           our law firm’s gravely delinquent       included in MLG
                                                           invoices for fees and expenses in the   Invoice Group E-1,
                                                           total amount of $3,395,018.39. This     including:
                                                           must be done with no further delay –    (1) no questions;
                                                           as a matter of top urgency. We cannot   (2) no objections;
                                                           wait any longer for payment. We         (3) no exceptions; and
                                                           require that Your Excellency confirm    (4) no disputes
                                                           immediately that the $3,395,018.39      whatsoever
                                                           will be paid to us at once.




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                     Chronological History of Mills Law Group-Iraq Communications Relevant to
          Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                        Iraq Communications with respect to:
                               (1) All Presented Invoices and Payment Demands, and
                                   (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                 (2)                  (3)                           (4)                                (5)
  Complaint        Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and      Sending Party*/                                                                          (if any)
   Date of
Communication
                                                            We also advise you that we will
                                                            present the Ministry of Justice very
                                                            shortly with our law firm’s additional
                                                            invoices for Wye Oak legal fees and
                                                            expenses incurred during the period
                                                            from December 2019 through
                                                            November 2020.

                                                            Again, we must receive forthwith your
                                                            confirmation of immediate payment of
                                                            the $3,395,018.39, by reply email, at
                                                            once.”

                                                            (Emphasis in original.)
¶ 21.R           TO:                   MLG Invoices         MLG email presentment of MLG             From MLG presentment
28-30 Dec 2020   MinJus                Constituting MLG     Invoice Group E-3 invoices for Wye       of MLG Invoice Group
                 MoJ                                        Oak incurred litigation expenses paid    E-3 to MoJ through the

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and     Sending Party*/                                                                          (if any)
   Date of
Communication
                                      Invoice Group E-3    by Mills Law Group on behalf of Iraq   Present (“as of” date
                                      **/                  during period of January-December      stated above in title of
                                                           2020, totaling $13,149.02.             this Table), no
                                                                                                  communication made to
                                                                                                  MLG by: (i) MoJ; or (ii)
                                                                                                  any other official, office
                                                                                                  or entity of the
                                                                                                  Government of Iraq,
                                                                                                  objecting to or
                                                                                                  contesting any invoice
                                                                                                  included in MLG
                                                                                                  Invoice Group E-3,
                                                                                                  including:
                                                                                                  (1) no questions;
                                                                                                  (2) no objections;
                                                                                                  (3) no exceptions; and


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                     Chronological History of Mills Law Group-Iraq Communications Relevant to
          Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                        Iraq Communications with respect to:
                               (1) All Presented Invoices and Payment Demands, and
                                   (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                 (2)                  (3)                           (4)                                (5)
  Complaint        Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and      Sending Party*/                                                                          (if any)
   Date of
Communication
                                                                                                   (4) no disputes
                                                                                                   whatsoever
¶ 21.S           TO:                   MLG Invoices         MLG email presentment of MLG           From MLG presentment
26-31 Dec 2020   MinJus                Constituting MLG     Invoice Group F-2 invoices for Wye     of MLG Invoice Group
                 MoJ                   Invoice Group F-2    Oak incurred litigation fees during    F-2 to MoJ through the
                                       **/                  period of 26 November 2019-30          Present (“as of” date
                                                            December 2020, totaling $497,961.50.   stated above in title of
                                                                                                   this Table), no
                                                                                                   communication made to
                                                                                                   MLG by: (i) MoJ; or (ii)
                                                                                                   any other official, office
                                                                                                   or entity of the
                                                                                                   Government of Iraq,
                                                                                                   objecting to or
                                                                                                   contesting any invoice
                                                                                                   included in MLG


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                          (4)                            (5)
  Complaint       Addressees and      Pertinent Invoices        Subject/Communication                Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                                                              Invoice Group F-2,
                                                                                              including:
                                                                                              (1) no questions;
                                                                                              (2) no objections;
                                                                                              (3) no exceptions; and
                                                                                              (4) no disputes
                                                                                              whatsoever,
                                                                                              excepting request for
                                                                                              clarification of hourly
                                                                                              rates of DiMuro
                                                                                              Ginsberg timekeepers B.
                                                                                              Dimuro and J. Mook
                                                                                              (see ¶ 21.AA, infra for
                                                                                              MoJ inquiry, ¶ 21.AB,
                                                                                              infra, for MLG
                                                                                              response)


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

       (1)            (2)                    (3)                            (4)                                 (5)
   Complaint    Addressees and        Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and   Sending Party*/                                                                              (if any)
     Date of
Communication
¶ 21.T        TO:                     MLG Invoice           Subject: Re: Presentment of Mills Law  From MLG presentment
7 Jan 2021    MLG                     Groups E-1, E-2, E-   Group Wye Oak Invoices Nos. 20-        of MLG Invoice Group
                                      3, F-1 and F-2        1230-001 (Litigation Expert Witness    F-2 to MoJ through the
               FM: MoJ                                      Fees -- Claro Group October 2019:      Present (“as of” date
                                                            $7,500): 20-1230-002 (Professional     stated above in title of
                                                            Fees during Period 1 April 2020-30     this Table), no
                                                            June 2020: $144,370)                   communication made to
                                                                                                   MLG by: (i) MoJ; or (ii)
                                                            “Reference to your email dated 31st of any other official, office
                                                            December 2020                          or entity of the
                                                                                                   Government of Iraq,
                                                            May I ask your good self to provide    objecting to or
                                                            me with the following :                contesting any invoice
                                                                                                   included in MLG
                                                            1- The Original and sealed invoice of  Invoice Group F-2,
                                                            fees through (DHL) or through          including:
                                                            Embassy                                (1) no questions;

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                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                   (as of 30 September 2022)

     (1)                     (2)                  (3)                            (4)                            (5)
  Complaint            Addressees and      Pertinent Invoices          Subject/Communication                Response
 Sub¶ No. and          Sending Party*/                                                                       (if any)
   Date of
Communication
                                                                                                     (2) no objections;
                                                                 2- Submitting the outstanding invoices
                                                                                                     (3) no exceptions; and
                                                                 of fees for the period of           (4) no disputes
                                                                 Nominating you as co- counsel by thewhatsoever,
                                                                 main attorney Cleary Gottlieb Steen &
                                                                                                     excepting request for
                                                                 Hamilton LLP law firm.”             clarification of hourly
                                                                                                     rates of DiMuro
                                                                                                     Ginsberg timekeepers B.
                                                                                                     Dimuro and J. Mook
                                                                                                     (see ¶ 21.AA, infra for
                                                                                                     MoJ inquiry, ¶ 21.AB,
                                                                                                     infra, for MLG
                                                                                                     response)
¶ 21.U              TO:                    MLG Invoice           Subject: Mills Law Group LLP: (1)   From MLG presentment
13 Jan 2021         MoJ                    Groups E-1, I-2, E-   Acknowledgement of MoJ Request for of MLG Invoice Group
                                           3, F-1 and F-2        Sealed Hard-Copy Set of Outstanding F-2 to MoJ through the
                    FM: MLG                                      Mills Law Group Wye Oak Invoices;   Present (“as of” date

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         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                            (if any)
   Date of
Communication
                                                           (2) Request for Federal Express          stated above in title of
                                                           Address for Ministry of Justice          this Table), no
                                                                                                    communication made to
                                                           We acknowledge receipt of your 7         MLG by: (i) MoJ; or (ii)
                                                           January 2021 email (immediately          any other official, office
                                                           below).                                  or entity of the
                                                                                                    Government of Iraq,
                                                           1. Please provide immediately, by        objecting to or
                                                           reply email, the Federal Express         contesting any invoice
                                                           address for the Ministry of              included in MLG
                                                           Justice. We will send the complete       Invoice Group F-2,
                                                           hard-copy set of invoices to the         including:
                                                           Ministry of Justice via Federal          (1) no questions;
                                                           Express courier.                         (2) no objections;
                                                                                                    (3) no exceptions; and
                                                           2. We are in the process of preparing    (4) no disputes
                                                           the hard copy (printed out) set of all   whatsoever,

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                 (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           outstanding invoices, each of which      excepting request for
                                                           we will seal with our law firm’s         clarification of hourly
                                                           corporate seal and which I also will     rates of DiMuro
                                                           sign adjacent to the seal.               Ginsberg timekeepers B.
                                                                                                    Dimuro and J. Mook
                                                           3. We also will identify in our          (see ¶ 21.AA, infra for
                                                           transmittal correspondence our fees      MoJ inquiry, ¶ 21.AB,
                                                           that pertain to the period in which we   infra, for MLG
                                                           were acting as co-counsel (instead of    response)
                                                           lead counsel) to the attorneys of
                                                           Cleary Gottlieb (CG).

                                                           (Please note that our presented
                                                           electronic invoices (i.e., those
                                                           presented by email in pdf format)
                                                           constitute our original invoices,
                                                           appropriately presented to the

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                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                   (as of 30 September 2022)

     (1)                     (2)                  (3)                            (4)                                 (5)
  Complaint            Addressees and      Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and          Sending Party*/                                                                            (if any)
   Date of
Communication
                                                                 Ministry of Justice consistent and in
                                                                 accordance with the provisions of the
                                                                 MoJ-Mills Law Group engagement
                                                                 letter for this matter.)

                                                                 (Emphasis in original.)
¶ 21.W              TO: MLG                MLG Invoice           Subject: Re: Mills Law Group LLP:       From MLG presentment
18 Jan 2021                                Groups E-1, I-2, E-   (1) Acknowledgement of MoJ Request      of MLG Invoice Groups
                    FM: MoJ                3, F-1 and F-2        for Sealed Hard-Copy Set of             E-1, E-2, E-3, F-1 and
                                                                 Outstanding Mills Law Group Wye         F-2 to MoJ through the
                                                                 Oak Invoices; (2) Request for Federal   Present (“as of” date
                                                                 Express Address for Ministry of         stated above in title of
                                                                 Justice                                 this Table), no
                                                                                                         communication made to
                                                                 “Reference to your email dated 13th     MLG by: (i) MoJ; or (ii)
                                                                 of January 2021,                        any other official, office
                                                                                                         or entity of the

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                                                ANNEX B TO COMPLAINT

                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                     (2)                  (3)                            (4)                                 (5)
  Complaint            Addressees and      Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and          Sending Party*/                                                                            (if any)
   Date of
Communication
                                                                 I would like to inform you the address   Government of Iraq,
                                                                 of our department is :-                  objecting to or
                                                                                                          contesting any invoice
                                                                 Iraq - Baghdad – Al-Salhia – Haifa       included in MLG
                                                                 Street – Ministry of Justice building-   Invoice Group F-2,
                                                                 Legal Department ( phone Number          including:
                                                                 07709999262) .                           (1) no questions;
                                                                                                          (2) no objections;
                                                                 Thank you for your cooperation.”         (3) no exceptions; and
                                                                                                          (4) no disputes
                                                                                                          whatsoever
¶ 21.V              TO:                    MLG Invoice           SUB: Outstanding Mills Law Group         From MLG presentment
24 Jan 2021         MoJ                    Groups E-1, E-2, E-   Wye Oak Invoices Submitted in 2019       of MLG Invoice Group
                                           3, F-1 and F-2        and 2020:                                F-2 to MoJ through the
                    FM:                                          (1) Provision of Hard-Copy, Sealed,      Present (“as of” date
                    MLG                                          Signed Outstanding Mills Law Group       stated above in title of
                                                                 Invoices                                 this Table), no

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                 (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           (2) Identification of Invoiced Fees as communication made to
                                                           Co-Counsel in the Matter (Effort on    MLG by: (i) MoJ; or (ii)
                                                           and after 2 September 2020)            any other official, office
                                                           (3) Submission of Corrected Fee        or entity of the
                                                           Invoice 20-1230-001(F)(corr)           Government of Iraq,
                                                                                                  objecting to or
                                                           In response to your email of 7 January contesting any invoice
                                                           2020, I am pleased to advise you that  included in MLG
                                                           on 18 January 2020, we have provided Invoice Group F-2,
                                                           the Ministry of Justice, in accordance including:
                                                           with the request, with the following   (1) no questions;
                                                           items via Federal Express parcel with (2) no objections;
                                                           a scheduled delivery date of Thursday, (3) no exceptions; and
                                                           28 January 2020 (see attached FedEx    (4) no disputes
                                                           receipt):                              whatsoever,
                                                                                                  excepting request for
                                                                                                  clarification of hourly

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                            (if any)
   Date of
Communication
                                                           1. A set of hard-copy, sealed and         rates of DiMuro
                                                           signed outstanding Mills Law Group        Ginsberg timekeepers B.
                                                           LLP Wye Oak invoices that we              Dimuro and J. Mook
                                                           previously presented to the Ministry of   (see ¶ 21.AA, infra for
                                                           Justice by email in 2019 and 2020         MoJ inquiry, ¶ 21.AB,
                                                           pursuant to the terms of the MoJ-Mills    infra, for MLG
                                                           Law Group Wye Oak engagement              response)
                                                           letter, accompanied by an index that
                                                           recaps: (i) each such previously
                                                           submitted Mills Law Group invoice;
                                                           and (ii) the total amount due of
                                                           $3,854,742.56, consisting of
                                                           $3,343,632.04 that is egregiously past
                                                           due for the Mills Law Group invoices
                                                           for the Wye Oak matter we presented
                                                           in 2019, and $511,110.52 for the Mills


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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           Law Group invoices for the Wye Oak
                                                           matter that we presented in 2020;

                                                           2. A break-out of the Wye Oak
                                                           appeal fees incurred as co-counsel to
                                                           Cleary Gottleib (CG) from the date
                                                           you notified us CG would become
                                                           lead counsel (2 September 2020)
                                                           through 31 December 2020. We
                                                           incurred a total of $148,976.00 in
                                                           fees. Our effort and our fees for this
                                                           period are detailed on:

                                                           -(a) Mills Law Group Invoice No. 20-
                                                           1230-001(F)(corr), which covers the
                                                           period 1 July 2020 through 30
                                                           September 2030. (We served as lead

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           counsel from 1 July 2020 through 1
                                                           September 2020, and as co-counsel
                                                           during the period from 2-30
                                                           September 2020.

                                                           The legal fees for effort during the
                                                           covered co-counsel period of 2-30
                                                           September 2020 are $69,179.00; and

                                                           (b) Mills Law Group Invoice No. 20-
                                                           1231-002, which covers the period 1
                                                           October 2020-30 December 2020.

                                                           The legal fees for this period total
                                                           $79,797.21.




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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           3. Corrected Mills Law Group
                                                           Invoice No. 20-1230-001(F)(corr) for
                                                           fees incurred during the period 1
                                                           October 2020-30 December
                                                           2020. The corrected invoice replaces
                                                           Mills Law Group Invoice No. 20-
                                                           1230-001, which we presented to the
                                                           Ministry of Justice by email on 31
                                                           December 2020. See attached
                                                           corrected invoice, filename: mlg-imoj
                                                           wye oak invoice 20-1230-001(F)(corr)
                                                           (1jul20-30sep20) $126,097.00
                                                           fc31dec20.

                                                           We discovered and corrected an
                                                           arithmetic error in multiplication of
                                                           timekeeper R Moore’s accurately-

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           recorded time (13.70 hours) time by
                                                           his accurately-stated hourly rate
                                                           ($200). The correct total for his fees
                                                           is $2,740.21. The erroneous total was
                                                           $1,507.21.

                                                           Accordingly, the correct invoice total
                                                           is $126,097.00 (stated on corrected
                                                           Invoice No. 20-1230-001(F)(corr),
                                                           instead of the erroneously-stated
                                                           invoice total of $124,864.00 on
                                                           Invoice No. 20-1230-001 that we sent
                                                           to you on 31 December 2020.

                                                           We ask that you correct your records
                                                           accordingly. We also apologize for all
                                                           inconvenience caused by our error.

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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                           (4)                                 (5)
  Complaint           Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and         Sending Party*/                                                                           (if any)
   Date of
Communication

                                                               Please acknowledge by reply email
                                                               that you have received this
                                                               correspondence in good order, and, as
                                                               well, that you have received the hard-
                                                               copy set of invoices upon delivery to
                                                               the Ministry of Justice by Federal
                                                               Express.”

                                                               (Emphasis in original.)
¶ 21.X             TO:                    MLG Fee Invoice #    MLG submission of corrected fee          From MLG presentment
2 Feb 2021         MoJ                    20-1230-001          invoice 20-1230-001(F)-(Corr)            of MLG Invoice Group
                                          (inaccurate)         (correcting MLG fee Invoice #20-         F-2 to MoJ through the
                   FM:                                         1230-001 presented on 31 Dec 2020)       Present (“as of” date
                   MLG                    MLG Fee Invoice                                               stated above in title of
                                          20-1230-001(F)-                                               this Table), no
                                          (Corr)                                                        communication made to

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                            (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                Response
 Sub¶ No. and     Sending Party*/                                                                      (if any)
   Date of
Communication
                                      (corrected)                                             MLG by: (i) MoJ; or (ii)
                                                                                              any other official, office
                                                                                              or entity of the
                                                                                              Government of Iraq,
                                                                                              objecting to or
                                                                                              contesting any invoice
                                                                                              included in MLG
                                                                                              Invoice Group F-2,
                                                                                              including:
                                                                                              (1) no questions;
                                                                                              (2) no objections;
                                                                                              (3) no exceptions; and
                                                                                              (4) no disputes
                                                                                              whatsoever,
                                                                                              excepting request for
                                                                                              clarification of hourly
                                                                                              rates of DiMuro

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                                               ANNEX B TO COMPLAINT

                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                               (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                   Response
 Sub¶ No. and         Sending Party*/                                                                          (if any)
   Date of
Communication
                                                                                                       Ginsberg timekeepers B.
                                                                                                       Dimuro and J. Mook
                                                                                                       (see ¶ 21.AA, infra for
                                                                                                       MoJ inquiry, ¶ 21.AB,
                                                                                                       infra, for MLG
                                                                                                       response)
¶ 21.Y             TO:                    MLG Invoice           Subject: MoJ Acknowledgment of         From MLG presentment
4 Feb 2021         MLG                    Groups E-1, I-2, E-   Receipt of Sealed Hard-Copy MLG        of MLG Invoice Group
                                          3, F-1 and F-2        Invoices                               F-2 to MoJ through the
                   FM:                                                                                 Present (“as of” date
                   MoJ                                          “I would like to confirm the receipt   stated above in title of
                                                                of your Letter dated 18th of January   this Table), no
                                                                which send by DHL”                     communication made to
                                                                                                       MLG by: (i) MoJ; or (ii)
                                                                                                       any other official, office
                                                                                                       or entity of the
                                                                                                       Government of Iraq,

                                                           B-64
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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                          (4)                            (5)
  Complaint       Addressees and      Pertinent Invoices        Subject/Communication                Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                                                              objecting to or
                                                                                              contesting any invoice
                                                                                              included in MLG
                                                                                              Invoice Group F-2,
                                                                                              including:
                                                                                              (1) no questions;
                                                                                              (2) no objections;
                                                                                              (3) no exceptions; and
                                                                                              (4) no disputes
                                                                                              whatsoever,
                                                                                              excepting request for
                                                                                              clarification of hourly
                                                                                              rates of DiMuro
                                                                                              Ginsberg timekeepers B.
                                                                                              Dimuro and J. Mook
                                                                                              (see ¶ 21.AA, infra for
                                                                                              MoJ inquiry, ¶ 21.AB,

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                                            ANNEX B TO COMPLAINT

                     Chronological History of Mills Law Group-Iraq Communications Relevant to
          Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                        Iraq Communications with respect to:
                               (1) All Presented Invoices and Payment Demands, and
                                   (2) Iraq Failure to Object to Presented Invoices

                                               (as of 30 September 2022)

     (1)                 (2)                  (3)                            (4)                                 (5)
  Complaint        Addressees and      Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and      Sending Party*/                                                                            (if any)
   Date of
Communication
                                                                                                     infra, for MLG
                                                                                                     response)
¶ 21.Z          TO:                    MLG Invoice           Subject: Ministry of Justice and        From MLG presentment
29 May 2021     MinJus                 Groups E-1, I-2, E-   Republic of Iraq Grave Delinquency      of MLG Invoice Group
                                       3, F-1 and F-2        in Payment of Mills Law Group LLP       F-2 to MoJ through the
                                                             Wye Oak Invoices ($3,854,742.56):       Present (“as of” date
                                                             (1) Demand for Payment in Full by       stated above in title of
                                                             Monday, 28 June 2021;                   this Table), no
                                                             (2) Notice of Intent to:                communication made to
                                                             (A) Withdraw as Counsel in Wye          MLG by: (i) MoJ; or (ii)
                                                             Oak Case;                               any other official, office
                                                             (B) Sue in U.S. District Court          or entity of the
                                                             (Washington, D.C.) if Payment in Full   Government of Iraq,
                                                             Not Made by 28 June 2021                objecting to or
                                                                                                     contesting any invoice
                                                             Your Excellent Ministry and the         included in MLG
                                                             Government of Iraq has severely

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                                                  ANNEX B TO COMPLAINT

                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                     (as of 30 September 2022)

      (1)                    (2)                    (3)                            (4)                                (5)
   Complaint           Addressees and        Pertinent Invoices          Subject/Communication                    Response
  Sub¶ No. and         Sending Party*/                                                                             (if any)
    Date of
 Communication
                                                                  wronged our law firm, Mills Law          Invoice Group F-2,
                                                                  Group LLP, through continuous grave      including:
                                                                  breach of Your Excellent Ministry’s      (1) no questions;
                                                                  and the Republic of Iraq’s contractual   (2) no objections;
                                                                  obligation to promptly take all acts     (3) no exceptions; and
                                                                  necessary to review, approve and pay     (4) no disputes
                                                                  our invoices for the legal services we   whatsoever,
                                                                  provided to Iraq in the Wye Oak case     excepting request for
                                                                  during the period March 2018 through     clarification of hourly
                                                                  the present. These invoices now total    rates of DiMuro
                                                                  $3,854,742.56. See Annex 1,              Ginsberg timekeepers B.
                                                                  below.[1] Your Excellent Ministry and    Dimuro and J. Mook



[1]
    “We presented our Wye Oak invoices to MoJ as follows (see Annex 1, below): (a) in October 2019: invoices for unreimbursed
litigation expenses incurred between March 2018 and 30 September 2019 totaling $270,481.54: (b) in December 2019: invoices for
Wye Oak legal services provided between March 2018 through the end of November 2019 totaling $3,073,150.50; (c) in December
                                                              B-67
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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                    (as of 30 September 2022)

      (1)                    (2)                    (3)                           (4)                                  (5)
   Complaint           Addressees and        Pertinent Invoices         Subject/Communication                      Response
  Sub¶ No. and         Sending Party*/                                                                              (if any)
    Date of
 Communication
                                                                  Iraq have not made any payment            (see ¶ 21.AA, infra for
                                                                  whatsoever, and have not provided         MoJ inquiry, ¶ 21.AB,
                                                                  any legal reason whatsoever or any        infra, for MLG
                                                                  explanation why the invoices have not     response)
                                                                  been reviewed, approved and paid.

                                                                  “Your Excellent Ministry has not
                                                                  shown any seriousness or commitment
                                                                  to meeting your legal obligation to pay
                                                                  these outstanding invoices. At the
                                                                  same time, the Ministry of Justice
                                                                  (MoJ) has hired another law firm to
                                                                  replace us as lead counsel in the Wye


2020, invoices for unreimbursed expenses incurred between 1 October 2019 and December 2020 totaling $13,149.02 and for legal
services delivered between December 2019 and December 2020 totaling $497,961.50.”


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           Oak litigation, and is also paying that
                                                           law firm’s invoices in full. As well,
                                                           MoJ is paying other law firm’s
                                                           invoices. We will not tolerate this.

                                                           If we do not receive payment of the
                                                           $3,854,742.56 by Monday, 28 June
                                                           2021, we will:

                                                           1. Immediately take all actions
                                                           necessary for us to withdraw as
                                                           counsel in the Wye Oak case;
                                                           2. Sue in the United States District
                                                           Court for the District of Columbia
                                                           for breach of contract and payment
                                                           in full of the $3,854,742.56, plus
                                                           interest and attorneys fees . . ..”

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                      Chronological History of Mills Law Group-Iraq Communications Relevant to
           Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                         Iraq Communications with respect to:
                                (1) All Presented Invoices and Payment Demands, and
                                    (2) Iraq Failure to Object to Presented Invoices

                                               (as of 30 September 2022)

     (1)                  (2)                  (3)                           (4)                                 (5)
  Complaint         Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and       Sending Party*/                                                                           (if any)
   Date of
Communication

                                                             (Emphasis in original.)
¶ 21.AA          TO:                    MLG Invoice No.      Subject: Fees                           From MLG presentment
29 June 2021     MLG                    20-1231-002                                                  of MLG Invoice Group
                                                             “I would like to clarify that ,we       F-2 to MoJ through the
                 FM:                                         noticed through auditing the invoice of Present (“as of” date
                 MoJ                                         fees for period 2/9/2020 – 31/12/2020 stated above in title of
                                                             , the hourly rates of your submitted    this Table), no
                                                             services is the same as the assistants  communication made to
                                                             (Mr. Ben Dimuro & Mr. Jonathan          MLG by: (i) MoJ; or (ii)
                                                             Mook ) .I hope you clarify that.”       any other official, office
                                                                                                     or entity of the
                                                                                                     Government of Iraq,
                                                                                                     objecting to or
                                                                                                     contesting any invoice
                                                                                                     included in MLG


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                          (4)                            (5)
  Complaint       Addressees and      Pertinent Invoices        Subject/Communication                Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                                                              Invoice Group F-2,
                                                                                              including:
                                                                                              (1) no questions;
                                                                                              (2) no objections;
                                                                                              (3) no exceptions; and
                                                                                              (4) no disputes
                                                                                              whatsoever,
                                                                                              excepting request for
                                                                                              clarification of hourly
                                                                                              rates of DiMuro
                                                                                              Ginsberg timekeepers B.
                                                                                              Dimuro and J. Mook
                                                                                              (see ¶ 21.AA, infra for
                                                                                              MoJ inquiry, ¶ 21.AB,
                                                                                              infra, for MLG
                                                                                              response)


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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

       (1)            (2)                    (3)                           (4)                                (5)
   Complaint     Addressees and       Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and   Sending Party*/                                                                            (if any)
     Date of
Communication
¶ 21.AB       TO:                     MLG Invoice No.      Subject: Response to MoJ Legal         From MLG presentment
29 June 2021  MinJus                  20-1231-002          Department Email, Subject “Fees”       of MLG Invoice Group
                                                           dated 29 June 2021 -- Immediate        F-2 to MoJ through the
               CC:                                         Withdrawal as Counsel for Iraq and     Present (“as of” date
               AMB                                         MoD and Filing of Breach of Contract   stated above in title of
               MoJ                                         Lawsuit                                this Table), no
                                                                                                  communication made to
                                                           “Today we received the below email     MLG by: (i) MoJ; or (ii)
                                                           from your Ministry’s legal department any other official, office
                                                           belatedly claiming that there is some  or entity of the
                                                           issue with the hourly rate of $650 for Government of Iraq,
                                                           our co-counsel Mr. Ben DiMuro and      objecting to or
                                                           Mr. Jonathan Mook on the Mills Law contesting any invoice
                                                           Group invoices for services provided   included in MLG
                                                           in 2020 in defense of Iraq and the     Invoice Group F-2,
                                                           Ministry of Defense (MoD) in the Wye including:
                                                           Oak litigation.                        (1) no questions;

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                              (if any)
   Date of
Communication
                                                                                                       (2) no objections;
                                                           This assertion is entirely meritless (see   (3) no exceptions; and
                                                           footnote, below), and is in complete        (4) no disputes
                                                           bad faith, made only for the purpose        whatsoever,
                                                           of MoJ and Iraq attempting to illegally     excepting request for
                                                           further delay MoJ’s gravely                 clarification of hourly
                                                           delinquent payment in full of our           rates of DiMuro
                                                           invoices for $3,854,742.56 – plus           Ginsberg timekeepers B.
                                                           interest of more than $300,000, plus        Dimuro and J. Mook
                                                           attorneys fees and costs of litigation –    (see ¶ 21.AA, infra for
                                                           by tomorrow, 30 June 2021 (as we            MoJ inquiry, ¶ 21.AB,
                                                           have demanded advised you).                 infra, for MLG
                                                                                                       response)
                                                           *   *    *

                                                           Footnote: In signing the MoJ-Mills
                                                           Law Group engagement letter (dated

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           25 March 2021), MoJ agreed to the
                                                           following provision: “Billing rates for
                                                           other partners [partners other than Mr.
                                                           Mills] range between $450 and $650
                                                           per hour.” Attorneys Mr. Dimuro and
                                                           Mr. Mook are senior partners who
                                                           have the same experience level as Mr.
                                                           Mills, and each served as co-counsel
                                                           to Mr. Mills (not as juniors) in the
                                                           Wye Oak litigation. Furthermore, the
                                                           $650 hourly rate for partners Mr.
                                                           Mills, Mr. Dimuro and Mr. Mook is
                                                           per se reasonable, being less than the
                                                           hourly rate for partners that the Court
                                                           already recognized as reasonable
                                                           during the Court consideration of the
                                                           reasonableness of the hourly rates of

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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                           (4)                                (5)
  Complaint           Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and         Sending Party*/                                                                          (if any)
   Date of
Communication
                                                              Wye Oak’s counsel (i.e., hourly rates
                                                              that were $800 or more).
¶ 21.AC            TO:                    Expense Invoice 21- MLG email presentment of MLG            From MLG presentment
8 Aug 2021         MinJus                 0807-001,           Invoice 21-0807-001 for Wye Oak         of MLG Invoice Group
                   MoJ                    constituting 1 of 2 incurred litigation expenses paid by    E-4 to MoJ through the
                                          invoices in MLG     Mills Law Group on behalf of Iraq       Present (“as of” date
                   FM:                    Invoice Group E-4   during period of January-August 2021,   stated above in title of
                   MLG                    **/                 totaling $2,564.04.                     this Table), no
                                                                                                      communication made to
                                                                                                      MLG by: (i) MoJ; or (ii)
                                                                                                      any other official, office
                                                                                                      or entity of the
                                                                                                      Government of Iraq,
                                                                                                      objecting to or
                                                                                                      contesting any invoice
                                                                                                      included in MLG


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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                               (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                   Response
 Sub¶ No. and         Sending Party*/                                                                          (if any)
   Date of
Communication
                                                                                                         Invoice Group E-4,
                                                                                                         including:
                                                                                                         (1) no questions;
                                                                                                         (2) no objections;
                                                                                                         (3) no exceptions; and
                                                                                                         (4) no disputes
                                                                                                         whatsoever
¶ 21.AD            TO:                    Fees Invoice 21-      MLG email presentment of MLG             8 Dec 2021 MoJ general
8 Aug 2021         MinJus                 0807-001,             Invoice 21-0807-001 for Wye Oak          exception concerning
                   MoJ                    constituting 1 of 2   incurred litigation fees incurred during the total amount of
                                          invoices in MLG       the period from 1 January 2021           MLG Invoice No. 21-
                   FM:                    Invoice Group F-3     through 31 July 2021 totaling            0807-001. See ¶ 21.AK,
                   MLG                    **/                   $120,001.21.                             infra.

                                                                “Subject: Wye Oak Litigation –         9 Dec 2021 MLG
                                                                Present[ment] of Above-Referenced      response rebutting MoJ
                                                                Invoice for Prompt Payment In

                                                            B-76
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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and     Sending Party*/                                                                          (if any)
   Date of
Communication
                                                           Accordance with Engagement              general exception. See ¶
                                                           Agreement                               21.AL, infra.


                                                           We hereby present the above-
                                                           referenced invoice [MLG Invoice No.
                                                           21-0807-001) for legal services fees
                                                           incurred by Mills Law Group LLP
                                                           (the “Firm) in the Wye Oak litigation
                                                           during the period from 1 January 2021
                                                           through 31 July 2021 [in the amount
                                                           of $120,001.00]. Prompt payment is
                                                           required in accordance with the terms
                                                           of our engagement agreement.




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                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                     (2)                  (3)                            (4)                              (5)
  Complaint            Addressees and      Pertinent Invoices          Subject/Communication                  Response
 Sub¶ No. and          Sending Party*/                                                                         (if any)
   Date of
Communication
                                                                 Please immediately acknowledge by
                                                                 reply email that you have received
                                                                 these invoices in good order.”

                                                                 (Emphasis in original.)
¶ 21.AE             TO:                    MLG Invoice           SUB: Mills Law Group LLP              From MLG presentment
11 Sep 2021         MinJus                 Groups E-1, E-2, E-   Notice of:                            of MLG Invoice Groups
                                           3, 1st Invoice in     (1)    Completion of Withdrawal of    E-1, E-2, E-2, 1st Invoice
                    FM:                    MLG Invoice           Representation; and                   in MLG Invoice Group
                    MLG                    Group E-4, F-1, F-2   (2)    Imminent Commencement of       E-4, F-1, F-2 and 1st
                                           and 1st Invoice in    Breach of Contract Lawsuit against    Invoice in MLG Invoice
                                           MLG Invoice           Republic of Iraq, Ministry of         Group F-3 to MoJ
                                           Group F-3             Defense and Ministry of Justice for   through the Present (“as
                                                                 Unpaid Fees and Expenses Totaling     of” date stated above in
                                                                 $3,976,069.60, Pre-Judgment           title of this Table), no
                                                                 Interest Exceeding $200,000 and       communication made to
                                                                 Cost of Litigation                    MLG by: (i) MoJ; or (ii)

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                            (if any)
   Date of
Communication
                                                                                                     any other official, office
                                                                                                     or entity of the
                                                           “. . .[B]y this letter, Mills Law Group   Government of Iraq,
                                                           LLP gives Iraq, MoD and the Ministry      objecting to or
                                                           of Justice (“MoJ”) notice of the          contesting any invoice
                                                           following.                                included in MLG
                                                                                                     Invoice Group F-2,
                                                           1. Mills Law Group LLP is now             including:
                                                           withdrawn from all representation of      (1) no questions;
                                                           Iraq and MoD in the Wye Oak case --       (2) no objections;
                                                           for the reason that you and your          (3) no exceptions; and
                                                           Ministry and the GOI, without excuse,     (4) no disputes
                                                           have continuously breached the clear      whatsoever,
                                                           and unequivocal obligation to pay         Excepting: (a) request
                                                           Mills Law Group's invoices for fees       for clarification of
                                                           and expenses, now totaling                hourly rates of DiMuro
                                                                                                     Ginsberg timekeepers B.

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                 (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           $3,976,069.60, for more than 20          Dimuro and J. Mook
                                                           months.                                  (see ¶ 21.AA, infra for
                                                                                                    MoJ inquiry, ¶ 21.AB,
                                                           We will present our close-out final      infra, for MLG
                                                           Wye Oak invoice (the “Final Wye Oak      response); and (b) 8 Dec
                                                           Invoice”) to you by Monday, 13           2021 MoJ general
                                                           September 2021, for payment per          exception concerning
                                                           contractual terms.                       the total amount of
                                                                                                    MLG Invoice No. 21-
                                                           2. We now must -- and will -- sue the    0807-001 (¶ 21.AK,
                                                           Republic of Iraq and the Ministry of     infra) and MLG rebuttal
                                                           Justice in the very same U.S. Federal    (¶ 21.AN, infra)
                                                           Court which already issued its
                                                           judgment against Iraq and the Ministry
                                                           of Defense.




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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

       (1)            (2)                    (3)                             (4)                                  (5)
   Complaint    Addressees and        Pertinent Invoices           Subject/Communication                      Response
 Sub¶ No. and   Sending Party*/                                                                                (if any)
     Date of
Communication
¶ 21.AF       TO:                     MLG Invoice           Reference to your email dated 4th of       From MLG presentment
14 Sep 2021   MLG                     Groups E-1, E-2, E-   July 2021, about your fees on above        of MLG Invoice Groups
                                      3, 1st Invoice in     mentioned case                             E-1, E-2, E-2, 1st Invoice
               FM:                    MLG Invoice                                                      in MLG Invoice Group
               MoJ                    Group E-4, F-1, F-2   I would like to clarify the following :-   E-4, F-1, F-2 and 1st
                                      and 1st Invoice in                                               Invoice in MLG Invoice
                                      MLG Invoice              •   Regarding your outstanding          Group F-3 to MoJ
                                      Group F3                     fees before authorizing (Cleary     through the Present (“as
                                                                   Gottlieb Steen & Hamilton           of” date stated above in
                                                                   LLP) Law firm as a counsel          title of this Table), no
                                                                   and your law firm as co-            communication made to
                                                                   counsel which is exactly for        MLG by: (i) MoJ; or (ii)
                                                                   the period from 1st of March        any other official, office
                                                                   2018 till 1st of September          or entity of the
                                                                   2020 which amount of                Government of Iraq,
                                                                   (3.854.742/56) USD                  objecting to or
                                                                                                       contesting any invoice

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                            (4)                              (5)
  Complaint       Addressees and      Pertinent Invoices          Subject/Communication                  Response
 Sub¶ No. and     Sending Party*/                                                                         (if any)
   Date of
Communication
                                                              •   As for the period from 2nd of   included in MLG
                                                                  September till 31st December    Invoice Group F-2,
                                                                  2020 in amount of               including:
                                                                  (148,976)USD                    (1) no questions;
                                                                                                  (2) no objections;
                                                           Accordingly , It have been decided     (3) no exceptions; and
                                                           the following :-                       (4) no disputes
                                                                                                  whatsoever,
                                                           1- Asking Ernest & Young to audit      Excepting: (a) request
                                                           your fees for the period from 1st of   for clarification of
                                                           March 2018 till 1st September 2020     hourly rates of DiMuro
                                                                                                  Ginsberg timekeepers B.
                                                           2- Paying your invoice in amount of    Dimuro and J. Mook
                                                           (148.976) USD for the period from      (see ¶ 21.AA, infra for
                                                           2nd of September till 31st of          MoJ inquiry, ¶ 21.AB,
                                                           December 2020                          infra, for MLG
                                                                                                  response); and (b) 8 Dec

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                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                     (2)                  (3)                            (4)                                 (5)
  Complaint            Addressees and      Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and          Sending Party*/                                                                            (if any)
   Date of
Communication
                                                                 3- The payment of the amount in para     2021 MoJ general
                                                                 (2) above will be according to your      exception concerning
                                                                 commitment not to file any case or       the total amount of
                                                                 take any procedures against Iraq for     MLG Invoice No. 21-
                                                                 above mentioned fees in para (1) until   0807-001 (¶ 21.AK,
                                                                 the result of this auditing.”            infra) and MLG rebuttal
                                                                                                          (¶ 21.AN, infra)
                                                                 (Emphasis in original.)
¶ 21.AG             TO:                    MLG Invoice           Subject: Mills Law Group Reply to        From MLG presentment
15 Sep 2021         MinJus                 Groups E-1, E-2, E-   Ministry of Justice 14 September         of MLG Invoice Groups
                                           3, 1st Invoice in     2021 Response to Mills Law Group         E-1, E-2, E-2, 1st Invoice
                    FM:                    MLG Invoice           3 July 2021 Email Communication          in MLG Invoice Group
                    MLG                    Group E-4, F-1, F-2                                            E-4, F-1, F-2 and 1st
                                           and 1st Invoice in    Matter of Impending Litigation           Invoice in MLG Invoice
                                           MLG Invoice           against Republic of Iraq (“Iraq”),       Group F-3 to MoJ
                                           Group F3              Iraq Ministry of Defense (MoD) and       through the Present (“as
                                                                 Iraq Ministry of Justice (MoJ) for       of” date stated above in

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and     Sending Party*/                                                                          (if any)
   Date of
Communication
                                                           Continuing Egregious Material          title of this Table), no
                                                           Breach of Contractual Obligations      communication made to
                                                           to Pay Seriously Delinquent Mills      MLG by: (i) MoJ; or (ii)
                                                           Law Group Invoices for Wye Oak         any other official, office
                                                           Legal Fees and Expenses Totaling       or entity of the
                                                           $3,976,069.60 for Period Covering      Government of Iraq,
                                                           March 2018 through 31 July 2021        objecting to or
                                                                                                  contesting any invoice
                                                           “Mills Law Group LLP (“Mills Law       included in MLG
                                                           Group”) acknowledges receipt of        Invoice Group F-2,
                                                           Your Ministry’s 14 September 2021      including:
                                                           response to our 3 July 2021            (1) no questions;
                                                           communication concerning Your          (2) no objections;
                                                           Ministry’s failure to pay our law      (3) no exceptions; and
                                                           firm’s outstanding invoices for fees   (4) no disputes
                                                           and incurred expenses in the Wye Oak   whatsoever,


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                               (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication                   Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           litigation. That failure has continued   Excepting: (a) request
                                                           for more than 20 months.                 for clarification of
                                                                                                    hourly rates of DiMuro
                                                           You and Your Ministry’s staff failed     Ginsberg timekeepers B.
                                                           to respond to our 3 July 2021            Dimuro and J. Mook
                                                           communications for over two months       (see ¶ 21.AA, infra for
                                                           (73 days days). This is                  MoJ inquiry, ¶ 21.AB,
                                                           inexcusable. This inordinate delay       infra, for MLG
                                                           leads us to believe you and Your         response); and (b) 8 Dec
                                                           Ministry are not serious about           2021 MoJ general
                                                           resolving the breach of your payment     exception concerning
                                                           obligations to Mills Law Group. And,     the total amount of
                                                           we consider and reply to your            MLG Invoice No. 21-
                                                           response in this light.                  0807-001 (¶ 21.AK,
                                                                                                    infra) and MLG rebuttal
                                                           *   *    *                               (¶ 21.AN, infra)


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                            (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                Response
 Sub¶ No. and     Sending Party*/                                                                      (if any)
   Date of
Communication
                                                           ■ Your proposal to have the firm of
                                                           Ernst & Young (“E&Y”) audit our
                                                           invoices from the period of 1 March
                                                           2018 through 1 September 2020
                                                           does not result in an ADR process
                                                           that is impartial or disinterested.

                                                           E&Y is currently engaged to provide
                                                           other professional services to the
                                                           Government of Iraq, and earn
                                                           substantial fees from this
                                                           representation. Accordingly, we
                                                           believe that, at the very least, this
                                                           creates an appearance of partiality and
                                                           bias and presents a very serious risk of
                                                           actual partiality and bias.


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           We cannot accept this.

                                                           ■ Your proposal to pay us now only
                                                           the sum $148,976.00 in fees for the
                                                           period 2 September 2020 through 31
                                                           December 2021 does not deal with,
                                                           recognize or agree to pay: (a) the
                                                           outstanding Mills Law Group
                                                           invoices for fees and expenses in the
                                                           amount of $120,001.00 for the
                                                           period 1 January 2021 through 31
                                                           July 2021 and (b) our law firm’s
                                                           outstanding expense invoices, now
                                                           totaling $286,194.60 for expenses –
                                                           most of which our law firm paid out
                                                           of pocket, at the urging of Your
                                                           Ministry and MoD, to protect the

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           interests of Iraq and MoD in the Wye
                                                           Oak litigation, and in reliance on
                                                           Your Ministry’s promise to reimburse
                                                           us once funds became available in
                                                           2019.

                                                           ■ The $148,976 that you are
                                                           proposing to pay now constitutes
                                                           only 3.83% of the delinquent invoice
                                                           total of $3,976,069.60 – which (as
                                                           repeatedly noted) Iraq, MoD and
                                                           MoJ have been legally obligated to
                                                           pay beginning at least 20 months
                                                           ago.

                                                           ● In light of these material
                                                           deficiencies, we cannot refrain from

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                         (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication             Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           commencing breach of contract
                                                           litigation against Iraq, MoD and
                                                           MoJ in the U.S. District Court for
                                                           the District of Columbia on that
                                                           basis.

                                                           *   *    *

                                                           If you wish to avert the immediately
                                                           pending litigation, you must provide
                                                           us with Your Excellency’s written,
                                                           signed agreement to the foregoing, by
                                                           email, by Wednesday, 22 September
                                                           2021.”

                                                           (Emphasis in original.)


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

       (1)            (2)                    (3)                            (4)                                  (5)
   Complaint    Addressees and        Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and   Sending Party*/                                                                               (if any)
     Date of
Communication
¶ 21.AH       TO:                     MLG Invoice           Reference to my email dated 14th of       From MLG presentment
4 Oct 2021    MLG                     Groups E-1, E-2, E-   September 2021,                           of MLG Invoice Groups
                                      3, 1st Invoice in                                               E-1, E-2, E-2, 1st Invoice
               FM:                    MLG Invoice           I am still waiting your reply regarding   in MLG Invoice Group
               MoJ                    Group E-4, F-1, F-2   my above mentioned email.                 E-4, F-1, F-2 and 1st
                                      and 1st Invoice in                                              Invoice in MLG Invoice
                                      MLG Invoice                                                     Group F-3 to MoJ
                                      Group F3                                                        through the Present (“as
                                                                                                      of” date stated above in
                                                                                                      title of this Table), no
                                                                                                      communication made to
                                                                                                      MLG by: (i) MoJ; or (ii)
                                                                                                      any other official, office
                                                                                                      or entity of the
                                                                                                      Government of Iraq,
                                                                                                      objecting to or
                                                                                                      contesting any invoice

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                          (4)                            (5)
  Complaint       Addressees and      Pertinent Invoices        Subject/Communication                Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                                                              included in MLG
                                                                                              Invoice Group F-2,
                                                                                              including:
                                                                                              (1) no questions;
                                                                                              (2) no objections;
                                                                                              (3) no exceptions; and
                                                                                              (4) no disputes
                                                                                              whatsoever,
                                                                                              Excepting: (a) request
                                                                                              for clarification of
                                                                                              hourly rates of DiMuro
                                                                                              Ginsberg timekeepers B.
                                                                                              Dimuro and J. Mook
                                                                                              (see ¶ 21.AA, infra for
                                                                                              MoJ inquiry, ¶ 21.AB,
                                                                                              infra, for MLG
                                                                                              response); and (b) 8 Dec

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                                               ANNEX B TO COMPLAINT

                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                    Response
 Sub¶ No. and         Sending Party*/                                                                           (if any)
   Date of
Communication
                                                                                                        2021 MoJ general
                                                                                                        exception concerning
                                                                                                        the total amount of
                                                                                                        MLG Invoice No. 21-
                                                                                                        0807-001 (¶ 21.AK,
                                                                                                        infra) and MLG rebuttal
                                                                                                        (¶ 21.AN, infra)

¶ 21.AI            TO:                    MLG Invoice           Subject: Mills Law Group LLP –          From MLG presentment
5 Oct 2021         MinJus                 Groups E-1, E-2, E-   (1) Failure of Ministry of Justice to   of MLG Invoice Groups
                   MoJ                    3, 1st Invoice in     Respond to Mills Law Group 15           E-1, E-2, E-2, 1st Invoice
                                          MLG Invoice           September 2021 Communication re         in MLG Invoice Group
                   FM:                    Group E-4, F-1, F-2   Impending Litigation against            E-4, F-1, F-2 and 1st
                   MLG                    and 1st Invoice in    Republic of Iraq (“Iraq”), Iraq         Invoice in MLG Invoice
                                          MLG Invoice           Ministry of Defense (MoD) and Iraq      Group F-3 to MoJ
                                          Group F3              Ministry of Justice (MoJ) for           through the Present (“as
                                                                                                        of” date stated above in

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                               (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                   Response
 Sub¶ No. and     Sending Party*/                                                                         (if any)
   Date of
Communication
                                                           Breach of Contract re Unpaid          title of this Table), no
                                                           Invoices Totaling $3,976,069.60       communication made to
                                                                                                 MLG by: (i) MoJ; or (ii)
                                                           “On 4 September 2021, the Director    any other official, office
                                                           General of the Ministry of Justice    or entity of the
                                                           (“MoJ”) Legal Department              Government of Iraq,
                                                           communicated to us: (1) an            objecting to or
                                                           unacceptable offer to pay an          contesting any invoice
                                                           inordinately small amount of the      included in MLG
                                                           outstanding fees, conditioned upon    Invoice Group F-2,
                                                           Mills Law Group agreeing not to       including:
                                                           commence litigation while MoJ         (1) no questions;
                                                           engaged Ernst and Young to audit of   (2) no objections;
                                                           the Mills Law Group outstanding       (3) no exceptions; and
                                                           invoices.                             (4) no disputes
                                                                                                 whatsoever,


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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                            (if any)
   Date of
Communication
                                                           On 15 September 2021, Mills Law           Excepting: (a) request
                                                           Group rejected the MoJ offer with a       for clarification of
                                                           counterproposal by which (among           hourly rates of DiMuro
                                                           other things): (1) MoJ pay                Ginsberg timekeepers B.
                                                           $555,171.60 to Mills Law Group by         Dimuro and J. Mook
                                                           not later than Thursday, 23 September     (see ¶ 21.AA, infra for
                                                           2021; (2) the litigation be commenced     MoJ inquiry, ¶ 21.AB,
                                                           in the U.S. District Court for the        infra, for MLG
                                                           District of Columbia, but then all        response); and (b) 8 Dec
                                                           claims by Mills Law Group and MoJ         2021 MoJ general
                                                           be referred by the U.S. District Court    exception concerning
                                                           to mandatory fee dispute arbitration by   the total amount of
                                                           the District of Columbia Bar, with the    MLG Invoice No. 21-
                                                           consent of both MoJ and Mills Law         0807-001 (¶ 21.AK,
                                                           Group. See attached copy of our 15        infra) and MLG rebuttal
                                                           September 2021 email. Your response       (¶ 21.AN, infra)
                                                           to our counterproposal was due by

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           not later than 22 September
                                                           2021. You did not respond.

                                                           Instead, on 4 October 2021, the MoJ
                                                           Legal Department DG re-sent MoJ’s 4
                                                           September 2021 email, together with
                                                           an erroneous claim that MoJ had not
                                                           received our firm’s 15 September
                                                           2021 response. (In fact, our 15
                                                           September 2021 email was addressed
                                                           to Your Excellency as well as cc:’d to
                                                           the MoJ Legal Department DG, and
                                                           we have every reason to believe that
                                                           our 15 September 2021 email was
                                                           delivered to Your Excellency and the
                                                           DG of your Legal Department.)”


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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                 (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                    Response
 Sub¶ No. and         Sending Party*/                                                                           (if any)
   Date of
Communication
                                                                (Emphasis in original.)
¶ 21.AJ            TO:                    MLG Invoice           Subject: Final Demand for               From MLG presentment
7 Dec 2021         PM                     Groups E-1, E-2, E-   Rectification and Cure of Continuing    of MLG Invoice Groups
                                          3, 1st Invoice in     Breach of Contract – Payment of         E-1, E-2, E-2, 1st Invoice
                   FM:                    MLG Invoice           Mills Law Group Egregiously             in MLG Invoice Group
                   MLG                    Group E-4, F-1, F-2   Delinquent Invoices Totaling            E-4, F-1, F-2 and 1st
                                          and 1st Invoice in    $4,025,495.65 for Legal Fees and        Invoice in MLG Invoice
                                          MLG Invoice           Expenses in the Wye Oak Litigation      Group F-3 to MoJ
                                          Group F3              in Defense of the Ministry of Defense   through the Present (“as
                                                                and the Republic of Iraq in United      of” date stated above in
                                                                States Courts between March 2018        title of this Table), no
                                                                and August 2021:                        communication made to
                                                                $3,738,102.00 in Invoiced Legal         MLG by: (i) MoJ; or (ii)
                                                                Fees;                                   any other official, office
                                                                $287,393.65 in Invoiced                 or entity of the
                                                                Unreimbursed Litigation Expenses        Government of Iraq,
                                                                                                        objecting to or

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                                 (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                           Advanced Out-of-Pocket by Mills          contesting any invoice
                                                           Law Group                                included in MLG
                                                                                                    Invoice Group F-2,
                                                           “I write to you now, requesting your     including:
                                                           personal intervention, as the final      (1) no questions;
                                                           demand to the Republic of Iraq           (2) no objections;
                                                           (“Iraq”) to amicably resolve Iraq’s      (3) no exceptions; and
                                                           egregious breach of its contractual      (4) no disputes
                                                           obligations under United States law to   whatsoever,
                                                           pay the grossly delinquent invoices of   Excepting: (a) request
                                                           my law firm, Mills Law Group LLP         for clarification of
                                                           (the “Firm”), dating back to 2018 and    hourly rates of DiMuro
                                                           totaling $4,025,495.65 for legal fees    Ginsberg timekeepers B.
                                                           and litigation expenses for defense of   Dimuro and J. Mook
                                                           Iraq and the Ministry of Defense         (see ¶ 21.AA, infra for
                                                           (MoD) in the Wye Oak litigation in       MoJ inquiry, ¶ 21.AB,
                                                           U.S. courts.                             infra, for MLG

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                               (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication                   Response
 Sub¶ No. and     Sending Party*/                                                                           (if any)
   Date of
Communication
                                                                                                     response); and (b) 8 Dec
                                                           *   *    *                                2021 MoJ general
                                                                                                     exception concerning
                                                           In light of the foregoing, I respectfully the total amount of
                                                           most strongly urge Your Excellency to MLG Invoice No. 21-
                                                           personally intervene in this dispute,     0807-001 (¶ 21.AK,
                                                           and compel resolution of the dispute      infra) and MLG rebuttal
                                                           through payment in full of the            (¶ 21.AN, infra)
                                                           $4,025,495.65 by wire transfer to the
                                                           Mills Law Group bank account as
                                                           soon as possible.

                                                           I am ready, willing and able to come
                                                           to Baghdad upon your invitation to
                                                           discuss this matter with any official
                                                           body you may nominate to discuss this
                                                           matter with me, to respond to any

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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                 (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                     Response
 Sub¶ No. and         Sending Party*/                                                                            (if any)
   Date of
Communication
                                                                questions or inquiries, in order to
                                                                come to an agreement, and payment of
                                                                our fees and expenses.”

                                                                (Emphasis in original.)
¶ 21.AK            TO:                    MLG Invoice #21-      Subject: Re: Presentment of Mills        For MLG rebuttal, see
8 Dec 2021         MLG                    0807-001 (only)       Law Group Wye Oak Invoice No. 21-        ¶ 21.AN, infra.
                                          (1st invoice in MLG   0807-001 (Professional Fees during
                   FM:                    Invoice Group F-3)    Period 1 January 2021-31 July 2021):
                   MoJ                                          $120,001.00

                                                                “Reference to your email dated 8th of
                                                                August 2021

                                                                Your invoice of fees no .(21-0807-
                                                                001) have been audited. I have noted
                                                                that the amount of the invoice is very

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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                    (2)                  (3)                           (4)                                 (5)
  Complaint           Addressees and      Pertinent Invoices         Subject/Communication                     Response
 Sub¶ No. and         Sending Party*/                                                                           (if any)
   Date of
Communication
                                                               high and the only work on the case
                                                               was to review the summary of Wye
                                                               Oak appeal , the draft response and
                                                               correspondence regarding the revised
                                                               attorney time summaries.

                                                                Accordingly, we suggest that you
                                                                reduce the amount of the invoice so
                                                                that we can proceed with payment
                                                                procedures .”
¶ 21.AL            TO:                    Expense Invoice 21- MLG email presentment of MLG              From MLG presentment
9 Dec 2021         MinJus                 1209-002,             Invoice 21-1209-001 for Wye Oak         of MLG expense Invoice
                   MoJ                    constituting 2nd of 2 incurred litigation expenses paid by    21-1209-002 through the
                                          invoices in MLG       Mills Law Group on behalf of Iraq       Present (“as of” date
                   FM:                    Invoice Group E-4     during period of January-August 2021,   stated above in title of
                   MLG                                          totaling $1,199.05.                     this Table), no
                                                                                                        communication made to

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                        Chronological History of Mills Law Group-Iraq Communications Relevant to
             Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                           Iraq Communications with respect to:
                                  (1) All Presented Invoices and Payment Demands, and
                                      (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                    (2)                  (3)                            (4)                                  (5)
  Complaint           Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and         Sending Party*/                                                                             (if any)
   Date of
Communication
                                                                                                         MLG by: (i) MoJ; or (ii)
                                                                                                         any other official, office
                                                                                                         or entity of the
                                                                                                         Government of Iraq,
                                                                                                         objecting to or
                                                                                                         contesting Invoice 21-
                                                                                                         1209-002, including:
                                                                                                         (1) no questions;
                                                                                                         (2) no objections;
                                                                                                         (3) no exceptions; and
                                                                                                         (4) no disputes
                                                                                                         whatsoever
¶ 21.AM            TO:                    Fees Invoice 21-      MLG email presentment of MLG             From MLG presentment
9 Dec 2021         MinJus                 1209-001,             Invoice 21-1209-001 for Wye Oak          of MLG fees Invoice 21-
                   MoJ                    constituting 2nd of   incurred litigation fees incurred during 1209-001 through the
                                          2 invoices in MLG     the period from 1 August 2021            Present (“as of” date
                   FM:                    Invoice Group F-3                                              stated above in title of

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                     Chronological History of Mills Law Group-Iraq Communications Relevant to
          Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                        Iraq Communications with respect to:
                               (1) All Presented Invoices and Payment Demands, and
                                   (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                 (2)                  (3)                           (4)                             (5)
  Complaint        Addressees and      Pertinent Invoices         Subject/Communication                 Response
 Sub¶ No. and      Sending Party*/                                                                       (if any)
   Date of
Communication
                MLG                                         through 5 October 2021 totaling     this Table), no
                                                            $46,989.21.                         communication made to
                                                                                                MLG by: (i) MoJ; or (ii)
                                                                                                any other official, office
                                                                                                or entity of the
                                                                                                Government of Iraq,
                                                                                                objecting to or
                                                                                                contesting Invoice 21-
                                                                                                1209-001, including:
                                                                                                (1) no questions;
                                                                                                (2) no objections;
                                                                                                (3) no exceptions; and
                                                                                                (4) no disputes
                                                                                                whatsoever
¶ 21.AN         TO:                    MLG Invoice #21-     Subject: Mills Law Group Response   From date of MLG
14 Dec 2021     MinJus                 0807-001 (only)      to Ministry of Justice Denial of    response (14 December
                MoJ                                         Payment of Mills Law Group Wye      2021) through the

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                              (as of 30 September 2022)

     (1)                (2)                  (3)                            (4)                                  (5)
  Complaint       Addressees and      Pertinent Invoices          Subject/Communication                      Response
 Sub¶ No. and     Sending Party*/                                                                             (if any)
   Date of
Communication
                                      (1st invoice in MLG   Oak Fee Invoice No. 21-0807-001          Present (“as of” date
                                      Invoice Group F-3)    ($120,001) for Professional Services     stated above in title of
                                                            between 1 January 2021-31 July           this Table), no
                                                            2021): Payment Demand re ALL             communication made to
                                                            Outstanding Invoices or Else             MLG by: (i) MoJ; or (ii)
                                                            Lawsuit                                  any other official, office
                                                                                                     or entity of the
                                                            “I acknowledge receipt of the 8          Government of Iraq,
                                                            December 2021 communication by           concerning or related to
                                                            MoJ Legal Department Director            MLG Invoice # 21-
                                                            General Hanan Nisaef by which Your       0807-001.
                                                            Ministry has repudiated its legally-
                                                            enforceable contractual obligations to
                                                            pay the above-referenced Mills Law
                                                            Group invoice (the “Invoice”) as
                                                            presented.


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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                              (4)                         (5)
  Complaint       Addressees and      Pertinent Invoices            Subject/Communication             Response
 Sub¶ No. and     Sending Party*/                                                                      (if any)
   Date of
Communication
                                                           First, DG Nisaef’s communication
                                                           constitutes nothing more than an
                                                           unprofessional, meritless invitation for
                                                           Mills Law Group to negotiate against
                                                           ourselves as though we are in a souk
                                                           and bargaining over an unpriced
                                                           toy. We decline to participate in such
                                                           improprieties.

                                                           -*   *     *

                                                           Second, the reason communicated by
                                                           DG Nisaef for MoJ not proceeding to
                                                           pay the above-referenced invoices is
                                                           devoid of any merit, and, thus,
                                                           completely pretextual. All of the legal
                                                           services we provided in the Wye Oak

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           case between 1 January 2021 and 31
                                                           July 2021 were provided at the
                                                           express request and authorization –
                                                           and under the supervision of – the
                                                           successor lead counsel appointed by
                                                           MoJ for the Wye Oak case (the
                                                           attorneys of Cleary Gottleib). As a
                                                           matter of applicable law, MoJ’s
                                                           appointment of Cleary Gottleib – and
                                                           MoJ’s instructions to us to fully
                                                           cooperate with Cleary Gottleib as Wye
                                                           Oak lead counsel – means that all of
                                                           our invoiced legal services, and the
                                                           extent of our invoiced legal services,
                                                           were pre-authorized by Iraq.




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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           Nothing that DG Nisaef now
                                                           summarily contends or
                                                           communicates changes this fact.

                                                           Accordingly payment is full is
                                                           overdue.

                                                           Third, Mills Law Group presented the
                                                           Invoices on 8 August 2021. By the
                                                           terms of the controlling Mills Law
                                                           Group engagement contract with MoJ,
                                                           MoJ is legally obligated to pay the
                                                           Invoices by deposit of full payment
                                                           into the Mills Law Group bank
                                                           account by not later than sixty (60)
                                                           days after presentment – in this


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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           instance, by not later than 7 October
                                                           2021.

                                                           Iraq (through the inactions of your
                                                           Ministry) has materially breached its
                                                           contractual payment obligations by:
                                                           (1) not paying the Invoices in full by
                                                           [date]; and (2) concocting bad faith
                                                           excuses for MoJ not paying the
                                                           Invoices.

                                                           Fourth, Iraq (acting through MoJ)
                                                           continues to be in material breach of
                                                           obligation to pay all Mills Law Group
                                                           Wye Oak invoices in full –twelve (12)
                                                           invoices presented in 2019, seven (7)
                                                           invoices presented in 2020 and four

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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                             (4)                         (5)
  Complaint       Addressees and      Pertinent Invoices           Subject/Communication             Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           (4) invoices presented in 2021, in all
                                                           totaling US$4,025,495.65 (four
                                                           million, twenty-five thousand, four
                                                           hundred and ninety-five United States
                                                           dollars and sixty-five cents).

                                                           Iraq (through MoJ) has not paid
                                                           even one cent of these 23 invoices.

                                                           And, Iraq (through MoJ) has not given
                                                           Mills Law Group any reason
                                                           whatsoever for not paying any of the
                                                           23 invoices.

                                                           *   *    *




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                                                ANNEX B TO COMPLAINT

                         Chronological History of Mills Law Group-Iraq Communications Relevant to
              Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                            Iraq Communications with respect to:
                                   (1) All Presented Invoices and Payment Demands, and
                                       (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                     (2)                  (3)                           (4)                                (5)
  Complaint            Addressees and      Pertinent Invoices         Subject/Communication                    Response
 Sub¶ No. and          Sending Party*/                                                                          (if any)
   Date of
Communication
                                                                Fifth, in light of the foregoing, Iraq
                                                                (through MoJ) leaves Mills Law
                                                                Group with no alternative but to sue
                                                                Iraq for our fees and expenses in the
                                                                United States District Court for the
                                                                District of Columbia.

                                                                Accordingly, unless Iraq (through
                                                                MoJ) gives us a good reason not to sue
                                                                – by now paying the 23 invoices in
                                                                full – we will see Iraq in Court.”

                                                                (Emphasis in original.)
¶ 21.AO             TO:                    No Reference to      Subject:                                 MLG Email dated 25 Jul
24 Jul 2022         MLG                    any Delinquent       Subject: Re: Presentment of Mills        2022 (¶ 21.AP, infra)
                                           Wye Oak Invoice      Law Group -- Rice Company
                    FROM:

                                                          B-109
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                                           ANNEX B TO COMPLAINT

                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                MoJ                                        Advisement Matter: Invoice No. 21-
                                                           0808-001
                                                           (Professional Fees during Period 2
                                                           February 2021): $1,560.00

                                                           “Reference to your email dated 8th of
                                                           August 2021 regarding your invoice
                                                           No. (21-0808-001) dated 8/8/2021
                                                           I hope you provide me with the details
                                                           of your Bank account in order to do
                                                           the necessaries.”

                                                           Note: On 8 September 2022, MoJ
                                                           remitted (by wire) partial wire
                                                           payment in the amount of $1,525 ($35
                                                           short) of MLG Rice Company Invoice
                                                           No. 21-0808-001.

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

       (1)            (2)                    (3)                               (4)                              (5)
   Complaint     Addressees and       Pertinent Invoices             Subject/Communication                  Response
 Sub¶ No. and   Sending Party*/                                                                              (if any)
     Date of
Communication
¶ 21.AP       TO:                     MLG Invoice           Subject: Mills Law Group Response to     No response whatsoever
25 Jul 2022   MinJus                  Groups E-1, E-2, E-   MoJ Email dated 24 July 2022:            to 25 July 2022 demand
              MoJ                     3, 1st Invoice in     (1) Rice Company Invoice No. 21-         for payment of all
                                      MLG Invoice           0808-001 (Professional Fees of           pertinent MLG Wye
                                      Group E-4, F-1, F-2   $1,560.00): Confirmation of Banking      Oak Invoices referenced
                                      and 1st Invoice in    Instructions;                            in column (3) of this
                                      MLG Invoice           (2) Gravely Delinquent Wye Oak           row.
                                      Group F3              Invoices ($4,025,495): Payment in
                                                            Full Required

                                                            -*   *    *

                                                            “. . . [P]lease refer to page 2 of the
                                                            2021 Rice Company Matter Invoice
                                                            for our banking instructions. For ease
                                                            of reference, I append to this
                                                            response our email of 8 August 2021

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           (50 weeks ago) by which we
                                                           transmitted the 2021 Rice Company
                                                           Invoice to your office and to His
                                                           Excellency the Minister of Justice.

                                                                       * * *
                                                           Payment of Gravely Delinquent
                                                           Wye Oak Invoices

                                                           We also note that all Mills Law Group
                                                           outstanding Wye Oak Invoices totaling
                                                           $4,025,495.65 are gravely delinquent.
                                                           We presented these invoices to Your
                                                           Excellence and to DG Hanan Nisaef
                                                           between December 2019 and August
                                                           2021. We have communicated with
                                                           you more than 20 times demanding

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                    Chronological History of Mills Law Group-Iraq Communications Relevant to
         Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                       Iraq Communications with respect to:
                              (1) All Presented Invoices and Payment Demands, and
                                  (2) Iraq Failure to Object to Presented Invoices

                                             (as of 30 September 2022)

     (1)                (2)                  (3)                           (4)                           (5)
  Complaint       Addressees and      Pertinent Invoices         Subject/Communication               Response
 Sub¶ No. and     Sending Party*/                                                                     (if any)
   Date of
Communication
                                                           that the Ministry of Justice (MoJ) and
                                                           Iraq cure MoJ’s and Iraq’s grave
                                                           breach of the indisputable contractual
                                                           obligation to pay the invoiced
                                                           $4,025,495.65. Nothing has been paid.
                                                           We have been gravely damaged – as
                                                           we have reported to you many times
                                                           previously.

                                                           *        *        *        *        *

                                                           We were looking forward to having
                                                           your firm approval for the payment in
                                                           full of your delinquency of
                                                           $4,025,495.65 (four million, twenty-
                                                           five thousand four hundred and ninety-
                                                           five     dollars    and     sixty-five

                                                     B-113
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                                               ANNEX B TO COMPLAINT

                      Chronological History of Mills Law Group-Iraq Communications Relevant to
           Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                         Iraq Communications with respect to:
                                (1) All Presented Invoices and Payment Demands, and
                                    (2) Iraq Failure to Object to Presented Invoices

                                                  (as of 30 September 2022)

     (1)                   (2)                   (3)                           (4)                          (5)
  Complaint          Addressees and       Pertinent Invoices         Subject/Communication              Response
 Sub¶ No. and        Sending Party*/                                                                     (if any)
   Date of
Communication
                                                               cents). Please    confirm   the   said
                                                               approval.

                                                               As we have informed you before, we
                                                               are obligated to go court to sue the
                                                               Ministry and Iraq to recover your
                                                               delinquent debt.

                                                               Awaiting your kind approval and
                                                               payment.”

                                                               (Emphasis in original.)

Notes:
*/ Key to abbreviation of addressees:
PM: His Excellency Mustafa Al-Kadhimi, Prime Minister of the Republic of Iraq;
MinJus: The Minister of Justice, His Excellency Salar Abdul Sattar Muhammad Hussein;

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                      Chronological History of Mills Law Group-Iraq Communications Relevant to
           Mills Law Group Demands for Iraq Payment of Each Wye Oak Litigation Invoice Presented to Iraq and
                                         Iraq Communications with respect to:
                                (1) All Presented Invoices and Payment Demands, and
                                    (2) Iraq Failure to Object to Presented Invoices

                                                   (as of 30 September 2022)

      (1)                  (2)                       (3)                          (4)                              (5)
   Complaint        Addressees and          Pertinent Invoices          Subject/Communication                  Response
 Sub¶ No. and       Sending Party*/                                                                             (if any)
    Date of
Communication
MoJ: The Director General of the Ministry of Justice (MoJ) Legal Department
LA: The then-Legal Advisor to the Prime Minister of Iraq Salem Chalabi;
Ambassador: The then-Ambassador of the Republic of Iraq to the United States of America, His Excellency Fareed Yaseen
MLG: Mills Law Group
**/ The MLG Invoices Groups referenced herein are defined at Complaint ¶ 18, supra.




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                            EXHIBIT 1.1

       Mills Law Group LLP-Republic of Iraq Ministry of Justice

    Wye Oak Litigation Engagement Agreement dated 15 March 2018
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                                   MILLS LAW GROUP LLP
                                           Attorneys at Law
                                  910 17th Street N.W., Suite 800
                                     Washington, D.C. 20006

                                           25 March 2018

                                                                                 Timothy B. Mills
                                                                               Managing Partner
                                                                          +1 202 457 8090 (Office)
                                                                      +1 202 256 0162 (US Mobile)
                                                                                  Internet Email:
                                                                       TimothyBMills@gmail.com
                                                                          TimothyBMills@aol.com



BY E-MAIL: compensation_iraq@yahoo.com

Mr. Raad Khalil Ghajy
Director General, Legal Department
Ministry of Justice, Republic of Iraq
Baghdad, Iraq

SUBJECT:       Engagement of Mills Law Group LLP:
               Wye Oak Technology Inc. v. Republic of Iraq
               U.S. District Court for the District of Columbia
               Civil Action No. 10-1182-RCL

Dear Director General Raad Khalil Ghajy:

Mills Law Group LLP (the “Firm”) gratefully acknowledges and accepts the decision of the
Ministry of Justice that the Firm shall continue the representation and defense of the Republic of
Iraq (“Iraq”) and the Ministry of Defense of the Republic of Iraq (“MoD”) in the above-
referenced case.

We shall act as counsel for the Iraq and MoD in accordance with the mutual understandings set
forth in this letter. It is agreed that we will present our invoices for our representation of Iraq and
MoD only to the Legal Department of the Ministry of Justice for approval and payment by the
Ministry of Justice.

This engagement agreement pertains to all of the professional services provided in connection
with defense of the claims in this case, commencing as 19 February 2018.

In accordance with the Firm’s business practices and ethical requirements and considerations
under the rules of professional conduct for the jurisdictions in which the Firm practices, we wish
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Mr. Raad Khalil Ghajy
Director General, Legal Department
SUBJECT: Engagement of Mills Law Group LLP –
              Wye Oak Technology, Inc. v. Republic of Iraq et al.
25 March 2018
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to ensure through this letter a common understanding between the Government of the new
Republic of Iraq and the Firm of the terms of this representation.

Please review this letter carefully to ensure that all is in accord with the Ministry’s agreement.

Legal Defense Team

I and other experienced litigators associated with the Firm will be part of the defense team.
Associates and staff attorneys, paralegals, specialists and other professionals also will be
involved in the defense. Our legal team already is knowledgeable of the issues of law and fact
that will bear on the defense of the claims at issue in this complex litigation.

Business Terms – Fees, Expenses, Invoicing and Payment

Fees and Expenses

As explained more fully in the Revised Standard Terms, the Firm will determine legal fees based
on our hourly billing rates in effect when the work is performed and the number of hours worked
by each attorney. The hourly billing rate for Mr. Mills is $650 per hour. Billing rates for other
partners range between $425 and $650 per hour. Associate attorneys and legal assistants working
on the case will also be billed at rates commensurate with their seniority. Hourly billing rates for
associate attorneys range from US$150 to US$550, and legal assistants from US$95 to US$275.

In addition to our fees for legal services, we also charge separately for certain costs and expenses
as described in the enclosed statement.

Retainer (Advance Payment), Invoicing and Payments

The Firm requires a retainer (advance payment) in the total amount of US$100,000 for our
representation in this case. The Retainer amount of US$100,000 must be maintained on
account throughout the representation, and, thus, must be replenished by prompt payment in
full of invoices to which retainer funds have been applied.

This retainer amount will be held in the Firm’s trust account, and will be applied against billing
as they occur. We will invoice the Ministry for the fees and expenses incurred, so as to replenish
the retainer balance during the course of the litigation. At the conclusion of this litigation, we
will apply the final bill to the retainer balance, and, if a remainder balance exists then, such
remainder will be returned to the Ministry.

We understand that the Ministry we will arrange for the advance payment to be sent to us as soon
as the Ministry receives this Engagement Letter.
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Mr. Raad Khalil Ghajy
Director General, Legal Department
SUBJECT: Engagement of Mills Law Group LLP –
              Wye Oak Technology, Inc. v. Republic of Iraq et al.
25 March 2018
Page 3 of 5

The Firm asks that the Ministry accomplish the wire transfer of the US$100,000 retainer
advance payment as soon as practicable, per banking/wire transfer instructions that the
Firm will provide to the Ministry under separate cover.

Invoicing and Payments

Mills Law Group LLP will present statements (invoices) to the Ministry (as set forth in the
Supplemental Terms) either: (a) when unbilled incurred fees and expenses total at least
US$15,000, or (b) monthly, at the Firm’s election. The statements will detail the effort and
expenses associated with the defense effort. Fees will be itemized to show the work performed
and time spent per time-keeper.

The Ministry will make payment of the retainer (advance payment) and the Firm’s invoices by
wire transfer of funds (in United States dollars) to the account of Mills Law Group LLP by the
payment due date, in accordance with banking instructions on the invoices.

It is agreed by the Ministry and the Firm, however, that wire transfer payment in full of each is
due to be received in the account of Mills Law Group LLP by not later than sixty (60) days after
delivery of each invoice to the Ministry, by e-mail, addressed as above.

Scope of Representation

The Firm agrees that, upon the Ministry’s approval of this engagement, the Firm will:

1.      Mount the defense in accordance with instructions from the Ministry, through your
office.

2.     Obtain, through you, the Ministry’s approval of any revision to the approved strategy
before pursuing the strategy.

3.      To give effect to the approved strategy, prepare appropriate substantive motions and
other substantive pleadings and communications (such as letters to Plaintiff’s counsel or the
Court), in draft form, and submit the draft motions, submissions and communications to the
Ministry, through you, for approval by the Ministry and any other organs of the new Government
of Iraq as the Ministry may determine may be appropriate, prior to any filing, dispatch or other
public disclosure. Again, this process must be expeditious, especially when the Court requires
filings within a short period of time.
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Mr. Raad Khalil Ghajy
Director General, Legal Department
SUBJECT: Engagement of Mills Law Group LLP –
              Wye Oak Technology, Inc. v. Republic of Iraq et al.
25 March 2018
Page 4 of 5

Incorporation of Standard Terms

The Firm and the Ministry agree that the Standard Terms of the prior engagement agreement
between the Ministry and Maggs & McDermott LLC for this action shall also apply to this
engagement agreement and are incorporated by reference.

Consent by the Ministry of Justice to the Firm’s Withdrawal as Counsel Upon Delinquency
in Payment

The Ministry and the Firm agree that should payment of one of the Firm’s invoices become
delinquent (that is, not be paid within sixty (60) days of presentation of the invoice to the
Ministry), then: (i) the Firm shall have the option, in its sole discretion, to take all actions
necessary to withdraw as counsel to the Government of the Republic of Iraq in this litigation
(including the filing with the court of a Notice/Motion to Strike Appearance and/or Withdraw
(the “Withdrawal Motion(s)”); and (ii) the Government of Iraq shall not oppose such Withdrawal
Motion.

Application of Terms to All Work in This Case

The mutually-agreed understanding expressed in this letter as well as the Standard Terms will
apply to any future work we undertake for the Ministry in this case, unless mutually agreed
otherwise, in writing, by the Parties.

                              *       *        *        *       *

As always, we remain available to you and His Excellency the Minister to address any questions
that may arise.

The Firm does ask that the Ministry evidence our mutual agreement by signing and returning a
fully-executed original of this letter to us, either by DHL or Federal Express or by hand.




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                           EXHIBIT 1.2

     Maggs & McDermott LLC-Republic of Iraq Ministry of Justice

   Wye Oak Litigation Engagement Agreement dated 10 February 2010
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                                                       Attur"")',31 1.;1..
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      Case 1:22-cv-03323-RCL Document 1 Filed 10/30/22 Page 173 of 180




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h3V~ mad~ ll!e:«' ''''I"'''C~ 3!ld h.,,· d"'~-m,,1I<'d Ih3' ()(l ~""I1ic1 "f ,"1(.t<1 e, ins \\ t s"",I~tll
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Ikp"nmcn,' "". Il,,~ II ",.. I"Jc .el" e"''''~II''n ,'I ~n} "ml'I"}~e .. "m"cr<. d,rccIO"".
       Case 1:22-cv-03323-RCL Document 1 Filed 10/30/22 Page 178 of 180




(J m ~r Gh3>S~"      J,,,, II ,I 1- II I!"'''''''
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,hc"'" r"'I~.~l~ r,,, '" '" 1" "" "l~ 1t,I",mat,,'n ILl II",,, J1L1Jn,,,,, J,-"funll "I' 1,·IICr> . pl~a,II"~'
~ "d<. me,,,,,,.,,,,b ... "J ", 11" J""u",,, .. h, II," d 1"n.', .,d 10m., '" ,I~n' ".I ,,,,h. ", 1,,·1 d " '''''''.'}
j'ln>tc'o,J", l'-' anJ '" ""Un \\ c "h"'l!~ Om Inn,' on ,,,,,I, "r ,,,,,, I,-m h "r "" I"'''T
  Case 1:22-cv-03323-RCL Document 1 Filed 10/30/22 Page 179 of 180




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tn ;ulJ,III'" w ,'ur I"". I", k~~1 ,~r' ''-'''. ",' .Ii... d'Mo;,· '''r,lIl1 ld) 1')( .crtum ~".\I'  ,p"n~>   ""<l •.
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    Case 1:22-cv-03323-RCL Document 1 Filed 10/30/22 Page 180 of 180




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fC~ ",, "   ;,ur ......"Sl.'''''.   \ " OJ ,~'",Id ''''''1,,111 ~h.; cl ~It roll.,~> .In..! n '"'''cr~g,· ma} I>c
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